Case 2:02-cv-O054 pF hb N>PRAN GENK IAS 5 pad e9/18/07 Page 1 of 85
1397 Eisenhower Boulevard
Richland Square III, Suite 202
Johnstown PA 15904
814-266-1799

National Indoor Football Leaque Date July 31, 2001
C/O Carolyn Shriver Invoice 15770
600 Loire Avenue

Lafayette LA 70507

INVOICE
File No. T O1-214

ate / Start Tim Attorney

eference Oe Client oo oo Rate

escription - Slip# Matter Level Time Total
ce ee ee ee 28902 145.00 0.20s 29.00
7/02/01 TCL 1

1 NIFL 01-214

‘elephone conference with General

siloxi Orthopedic Group Re:

sutstanding medical bills. BILLED: #15770

Se ee 28918 145.00 0.20s 29.00
07/05/01 TCL 1
* 1 NIFL 01-214
Preparation time on General
Correspondence to the Ohio
Workers Compensation Board BILLED: #15770
Re: coverage.

Lee 29238 110.00 0.50s 55.00
07/05/01 MIJN 1

* 1 NIFL 01-214

Research re: hearings General

scheduled in this case. (52

Hearings.) BILLED: #15770

Se ee 29239 110.00 0.20s 22.00
07/05/01 MJN 1

*1 NIFL 01-214

Telephone conference with General

Judy who called for Carolyn
Case 2:02-cv-00548-TFM DEQHSD L ititig: Filed 09/18/07 Page 2 of 85

time: s=spent

LEVENTRY & HASCHAK, LLC

u=unbillable e=estimated

e / Start Time Attorney
erence Client
cription Slip# Matter
ee ee eee 29239 cont.
ver relative to fax of BILLED: #15770
aring notices; our request
c a written letter
chorizing Leventry Law
fice to represent National
door Football League.
wee ee ee ees 29240
/05/01 MIN

NIEL 01-214
lephone call to Ohio General
reau of Workers'
mpensation relative to BILLED: #15770
mtinuance.
wt ee 29241
1/05/01 MIN
L NIFL 01-214
slephone conference with General
2idre and Dick Stevens from
idustrial Commission of BILLED: #15770
jio relative to request for
ontinuance.- ,
wee ee eee 29242
7/05/01 MIN
1 NIFL 01-214
reparation of letter to General

ndustrial Commission of
hie requesting a
‘continuance of the hearings

ccheduled for duly 6, 9, and

BILLED: #15770

Q, 2001.

ee ee ee 29259

17/13/01 TCL

1 NIFL 01-214
Review documentation and General

internal memorandums Re:
NIFL and RPC Arrangement.

BILLED: #15770

v=variance

Rate
Level Time
110.00 0.208
1
110.00 0.40s
1
110.00 0.50s
1
145.00 Q0.20s

1

Total

22.00

44.00

55.00

29.00
LEVENTRY & HASCHAK, LLC
Case 2:02-cv-00548-TEM pepgusianLidiig Filed 09/18/07 Page 3 of 85

r time: s=spent u=unbillable e=estimated v=variance

ce / Start Time Attorney
Terence Client Rate
scription Slip# Matter Level Time Total
Le ee 29340 110.00 0.20s 22.00
/06/01 MIN 1
NIFL 01-214
view of airborne express General
ckage relative to hearing
tices. BILLED: #15770
ce ee ee 29341 110.00 1.30s 143.00
/06/01 MIN 1
NIFL 01-214
fice preparation time to General
view information NIFL sent
. our office. BILLED: #15770
wee ee eee 29342 110.00 Q0.30s 33.00
'/06/01 MIN 1
. NIFL 01-214
slephone conference with General

1eryl from the Industrial

mmission of Ohio to try to BILLED: #15770
scertain the status of the

ases scheduled for 7-6,

-9, and 7-10, 2001.

we ee ees 29343 110.00 0.30s 33.00
7/06/01 MJN 1

1 NIFL 01-214

elephone conference with General

udy from NIFL explaining

he current status of the BILLED: #15770

ontinuance requests.
equest fax of NIFL's
ertificate for the Ohio
uureau of Worker's

fompensation.

ee ee 29344 110.00 0.30s 33.00
7/06/01 MIN 1

‘1 NIFL 01-214

felephone conference with General

Jeirdre from Industrial

commission of Ohio BILLED: #15770

concerning the continued
status of the hearings
- time:

s=spent

u=unbillable e=estimated

e / Start Time Attorney
erence Client
cription Slip# Matter
cee ee 29344 cont.
ieduled for 7-6-01,
I-O1. 7-10-01 and steps
take to proceed.
Le ee ee 29345
/06/01 MIN
NIFL 01-214
Lephone conference with General
ixrdre to determine that
e focus of the upcoming BILLED: #15770
arings are solely to
termine whether Ohio
rkers!' Compensation is
countable for these claims.
wee ee ee 29346
/06/01 MIN
NIFL 01-214
‘eparation and finalization General
© fax to Industrial
mmission of Ohio that BILLED: #15770
icluded their requested
iformation. ,
we ee ee 29347
7/06/01 MIN
1 NIFL 01-214
elephone conference with General
tephanie at the Ohio Bureau
£ Workers Compensation to BILLED: #15770
ngquire about coverage by
hio Worker's Compensation.
Leas ee ee 29348
17/06/01 MIN
1 NIFL 01-214
‘elephone conference with General
Judy at NIFL to determine
vyhether NIFL has any offices BILLED: #157706

or affiliations at Ohio.

LEVENTRY & HASCHAK, LLC
Case 2:02-cv-00548-TFMpRQasnmy Litttig Filed 09/18/07 Page 4 of 85

v=evariance

Rate
Level

110.00

110.00

110.00

110.00

Time

0.20s

0.50s

0.50s

0.10s

Total

22.00

55.00

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11.00
time:

e / Start Time
erence
cription

s=spent

u=unbillable e=estimated

LEVENTRY & HASCHAK, LLC
Case 2:02-cv-00548-TFMp Gag hgiiddisl Filed 09/18/07 Page 5 of 85

Attorney
Client
Matter

ephone conference with
Industrial Commission

ative to hearing

ttinuances.

‘11/01

lephone conference with
ssy and Carolyn Shiver
lative to the facts

rrounding the Worker's

apensation claims,
ployer Services,
FL'’s Tiltonsville,

fice.

RPC

and the

Ohie

lephone conference with
io Bureau of Workers
mpensation Law Department
») discuss NIFL claims.

1/12/01
L

2search concerning

arisdiction laws for the
nio Bureau of Workers

ompensation.

esearch concerning the law
nm Ohio Bureau of Worker's
ompensation Law in Ohio.

MIN
NIFL
General

01-214

BILLED: #15770

MIN

NIFL
General

01-214

BILLED: #157700

MIJN
NIEFL
‘General

01-214

BILLED: #15770

MJN
NIFL
General

01-214

BILLED: #15770

MJN
NIFL
General

01-214

BILLED: #15770

v=evariance

110.00

110.00

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110.00
1

Time

0.20s

0.30s

0.40s

2.00s

1.00s

Total

22.00

33.00

44.00

220.00

110.900
Case 2:02-cv-00548-TFM DEQHSIA EL Mitig- Filed 09/18/07 Page 6 of 85

> time:

ee / Start Time
‘erence
scription

s=spent

LEVENTRY & HASCHAK, LLC

u=unbillable e=estimated

Attorney
Client
Matter

Lephone conference with
> Ohio Bureau of Workers'
npensation relative to

sir procedures for

termining jurisdiction.

view of Workers’

mpensation appeals filed
determine which appeals
d been scheduled for
aring and continued, and
ich had not yet been
hheduled for hearing.

L

2>léphohe conference with
sirdre from the Industrial
ommission of Ohio to
s2termine that they will be
=nding hearing notices to
[FL relative to appeals
iled that have to date not
een scheduled for hearing.

7/13/01
1

esearch through file
aterials to determine if
hey contained information
‘concerning representations
PC made to the NIFL as toa
iow RPC could obtain Ohio
jorkers' Compensation for

IIFL employees.

MIN
NIFL
General

01-214

BILLED: #15770

MJIN
NIFL
General

01-214

BILLED: #15770

MIN
NIFL 01-214
General

BILLED: #15770

MIN
NIFL
General

01-214

BILLED: #15770

vV=variance

110.00

110.00

110.00

0.60s

0.10s

1.00s

Total

11.00

66.00

11.00

110.00
Case 2:02-cv-00548-TFM Deere MA Listing Filed 09/18/07 Page 7 of 85

r time: s=spent u=unbillable e=estimated

LEVENTRY & HASCHAK, LLC

ce / Start Time Attorney
ference Client
scription Slip# Matter
Ce ee 29377
(13/01 MIN

NIFL 01-214
lephone conference with General

rolyn Shiver inquiring

how

C stated they could get
e NIFL covered under Ohio

rker's Compensation.

{26/01

view and revise
yrrespondence from Atto
igy to treating physici

1/17/01

lL

syview of additional Not
f Continuance received.

7/18/01

1

eview of additional
ontinuance notices rece

7/18/01
i]

rney
ans.

ices

ived,

‘elephone conference with
Tfessy from NIFL concerning
Jotices of Continuance the

JIFL has been receiving.

07/19/01

*1

Review of Notices of
Continuance.

BILLED: #15770

JMH
NIFL 01-214
General

BILLED: #15770

MIN
NIFL 01-214
General

BILLED: #15770

MJN
NIFL 01-214
General

BILLED: #15770

MJN

NIFL 01-214
General

BILLED: #15770

MJIN
NIFL 01-214
General

vV=variance

130.00

110.00

110.00

110.00

110.00

Time

0.30s

0.30s

0.20s

0.10s

0.10s

0.40s

Total

33.00

39.00

22.00

11.00

11.00

44.00
LEVENTRY & HASCHAK, LLC

Case 2:02-cv-00548-TFM DRiagLsignListing Filed 09/18/07 Page 8 of 85

- time: s=spent u=unbillable e=estimated

Attorney
Client
Matter

-e / Start Time

ference

scription Slip#
De ee ee eee 29584
de ee eee ee 29585
/19/01

lephone conference with
irdre from the Industrial
mmission of Ohio to

nfirm that the 'Notice of
ntinuance' just states

at the Hearing date on

iat form has been

mtinued; notice of the
»-scheduled hearing date
:Ll follow at a later time.

7/19/01

L

elephone conference with
ancy from Black Hill
urgery Center relative to
hris Evans' unpaid medical
ills.

7/20/01

1

esearch to find an Attorney
mn Ohio to assist with the
Jorkers' Compensation

cont.
BILLED: #15770

MIN
NIFL 01-214
General

BILLED: #15770

MIN
NIFL 01-214
General

BILLED: #15770

MIN
NIFL 01-214
General

BILLED: #15770

jearings.

ce ee ee eee 29604

07/23/01 MIN

«i NIFL 01-214
Search to find an attorney General

in Ohio to assist in
research relative to the
Workers’ Compensation cases.

BILLED: #15770

v=evariance

Rate
Level

110.00

110.00

110.00

110.00
1

Time

0.10s

0.20s

Q.40s

0.40s

Total

11.00

22.00

44.00

44.00
Case 2:02-cv-00548-TFM pRagUsignLiktiva Filed 09/18/07 Page 9 of 85

' time: s=spent

e / Start Time
erence
scription

lephone conference with
-orney Caputo relative to

o's view on Ohio

risdiction for Workers'

npensation.

/23/01

lephone conference with
irdre from the Industrial
mmission of Ohio relative
. the Record of Proceedings
at we received for John

thmitt .

slephone conference with
Etorney Corrine Carman from
oyrs, Sater, Seymour and

ease in Columbus,

elative to search for an
hio firm to work with us on
orkers' Compensation

earings.

7/23/01
1

esearch to determine names
and claim numbers of NIFL
»layers who filed appeals
nut Notice of Continuance
1as not been sent.

07/23/01
*1

Telephone conference with

LEVENTRY & HASCHAK, LLC

u=unbillable e=estimated

Attorney
Client
Matter

MIN
NIFL 01-214
General

BILLED: #15770

MJIN
NIFL 01-214
General

BILLED: #15770

MIJN
NIFL 01-214
. General

BILLED: #15770

MJN
NIFL 01-214
General

BILLED: #15770

MIN
NIFL 01-214
General

vevariance

110.00

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Total

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33.00
time:

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Case 2:02-cv- 0054

e / Start Time

erence
cription

Slip#

ENERY & ASC:

M Detail Stip 1.

Attorney
Client
Matter

tee eee 29609

Lo and Kenneth Carpenter

m the Youngstown,

Ohio

fision of the Industrial
mission of Ohio to
f-ermine why John Schmitt's
icing was held in the
ingstown office and why

- office did not receive a
-ice of hearing but

ceived the record of

>ceeding.

lephone conference with

e Industrial Commission
stomer Service Line to
termine where the appeals
at we had not yet received

ntinuance notices on,

held.

/24/01

will

-lephone conference with a
dical care provider
iloyee from Suncoast
slative to the status of
.Kki-Seymour's workers'
mpensation claim.

slephone conference with
2sse to update her on our
onversation with Bernard

aputo;

aquest

the status of John
chmitt's Hearing;

and to

information from
IFL records.

cont.

BILLED: #15770

MIN
NIFL
General

01-214

BILLED: #15770

MIN
NIFL
General

01-214

BILLED: #15770

MJN
NIFL
General

O1-214

BILLED: #15770

Piaget “riled 09/18/07 Page 10 of 85
Isting

u=unbillable e=estimated

V=Variance

Rate
Level Time
110.00 0.20s
1
110.00 0.10s
1
110.00 0.208
1

Total

22.00

11.00

22.00
LEVENTRY & HASCHAK, LLC

Case 2:02-cv-00548-TFM jReSH SABIAN Filed 09/18/07 Page 11 of 85

c time: s=spent u=unbillable e=estimated

-e / Start Time Attorney
Ference Client
scription Slip# Matter
ee ee ee ee 29619
/24/01 MIN

NIFL 01-214
view of fax from the NIFL General
ncerning RPC instructions
cr Ohio Workers' BILLED: #15770

moensation and a few other
rrespondences between NIFL

d RPC.

ce eee 29620

/24/01 MIN

NIFL 01-214
search concerning the General

ypeal process in Steve

chmitt's workers' BILLED: #15770
mmpensation claims so we

an prepare a request to

ave the 7/17/01 decision

acated.

Se eee ee 29621

7/24/01. _ MIN .
LV Oo NIFL 01-214
esearch to determine why General
eventry Law Office did not

eceive notice of the BILLED: #15770
/17/01 John Schmitt Hearing.
Le 29622

7/24/01 MIN

‘] NIFL 01-214
-reparation of request to General

vacate the 7/17/01 decision

ny the District Hearing BILLED: #15770
Ifficer concerning Steve
Schmitt's workers'
compensation claim.

Lee ee 29626

07/25/01 MIN

*1 NIFL 01-214
Telephone conference with General

NIFL to determine whether

vevariance

110.00

110.00

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110.00

Time

0.20s

0.40s

Q.40s

0.505

0.10s

Total

22.00

44.00

44.00

55.00

11.00
LEVENTRY & HASCHAK, LLC
Case 2:02-cv-00548-TFM peagueignLidind Filed 09/18/07 Page 12 of 85

time: s=spent u=unbillable e=estimated
e / Start Time Attorney
erence Client
cription Slip# Matter
ce eee ts 29626 cont.

y received a notice of
cing for John Schmitt's
7/01 Hearing.

lephone conference with

> Ohio Bureau of Workers'
npensation to check the
atus of John Schmitt's
cond claim 01-372249.

eparation of letter to
peal the disallowance of |
hn Schmitt's claim —
-372249,

ssearch of Ohio attorneys

> inquire as to their fees;
slephone conference with
oanne Ervin; Telephone
onference with Porter,
right, Morris and Arthur.

See ee ee ee 29630
7/25/01

1

eview of ' Notices of
learing' scheduled to

5/9/01; research of the
sited Ohio Administrative
tule 4121-03-09 cited in
che hearing notices.

BILLED: #15770

MIN
NIFL
General

01-214

BILLED: #15770

MJIN
NIFL
General

01-214

BILLED: #15770

MIN

NIFL
General

01-214

BILLED: #15770

MUN
NIFL
General

01-214

BILLED: #15770

v=evariance

Rate
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Time

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°0.40s

Q.30s

Total

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44.00

44.00

33.00
Detai

Case 2:02-cv-0054051 HM oe x ent geet eed 09/18/07 Page 13 of 85
1Sitp isting

time: s=spent
e / Start Time
erence

cription

u=unbillable e=estimated

Attorney
Client
Matter

ephone conference with
-orney Bernard Caputo
1cerning Dan D'Alio's
1lings with Ohio Bureau of
ckers' Compensation.

(25/01

Lephone conference with

dy from NIFL concerning a
one call the NIFL received
om Ohio Bureau of Workers'
mpensation Marty Herf; and
tices relative to John
hmitt.

fice preparation time
mcerning information given
) NIFL by Marty Herf from
\lo Bureau of Workers'
mpensation; Telephone
ynference with NIFL

slative to the status of

1e information from Marty
srf; Telephone conference
ith Ohio Bureau of Workers'
ompensation to reach Marty
arf.

7/26/01

1

reparation of a general
etter addressed to medical
roviders who cared for NIFL
laimants explaining the
tatus of medical bill
ayments.

MJN
NIFL
General

01-214

BILLED: #15770

MIN
NIFL
General

Q1-214

BILLED: #15770

MIN
NIFL 01-214
General ,

BILLED: #15770

MJN
NIFL
General

01-214

BILLED: #15770

v=variance

Rate
Level Time
110.00 0.40s
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110.00 0.30s
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110.00 0.805
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110.00 0.40s
1

Total

44.00

33.00

88.00

44.00
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e / Start Time Attorney
erence Client
cription Slip# Matter
we ee 29637 cont.
Le ee eee 29638
(26/01 MIN
NIFL 01-214
lephone conference with General
anne Ervin and Dunlevey,
dan inguiring as to fees BILLED: #15770
r their assistance in this
ckers' compensation matter.
ce ee 29639
/26/01 MIN
NIFL 01-214
fice preparation time on General
e review of 50 notices of
aring for NIFL claimants; BILLED: #15770
view of file information
) determine the number of
aimant's for whom we have
4%: yet received notices of
saring.
Le ee ee 29642
7/27/01 MIN
1 NIFL 01-214
elephone conference with General
elena, an employee of the
edical care provider who BILLED: #15770
reated Marcus LeBlanc,
elative to the status of
is workers’ compensation
laim.
Le eee ee 29645
17/30/01 MIN
‘1 NIFL 01-214
reparation of statement of General
“acts summarizing the events
leading up to the status of BILLED: #15770

Case 2:02-cv-00548-

LEY LENTRY & HASCHAK, LLC

PM Detail Stip Listing

che NIFL's Workers'
compensation claims for Ohio

Counsel.

vevariance

Rate

Level

110.00

1
110.00
1
110.00
1
110.00
1

Time

0.30s

1.105

0.10s

1.10s

Filed 09/18/07 Page 14 of 85

Total

33.00

121.00

11.00

121.00
LEVENTRY & HASCHAK, LLC
Case 2:02-cv-00548-TFM pieeauSinptlidfiing Filed 09/18/07 Page 15 of 85

time: s=spent u=unbillable e=estimated v=variance

e / Start Time Attorney
erence Client Rate
fcription Slip# Matter Level Time Total
ee ee ees 29646 110.00 0.40s 44.00
(30/01 MJN 1

NIFL 01-214
lephone conference with General

< Blateri and Marty Herf

sm Ohio Bureau of Workers' BILLED: #15770
npensation relative to the

eating with Dan D'Alioc and

Lo jurisdiction over the

ckers' compensation claims.

we ee ee 29647 110.00 0.20s 22.00
/30/01 MIN 1

NIFL 01-214
lephone conference with General

dy from NIFL to clarify

cts that were not clearly BILLED: #15770
ecified in the information

1e@ NIFL sent concerning the

-110's and establishing the

}ltonsville, Ohio office.

Dea be pee eee nee e nena 29648 .- ' 110.00 -.0.30s 33.00
7/30/0 oe MIN © Sd Ot So
1 NIFL 01-214

elephone conference with General

rian Hall from Porter,

right, Morris and Arthur in BILLED: #15770
hio relative to research on

hio jurisdiction fer

125.00 per hour, five hours

f research, and due by

‘riday, August 3rd.

pee ee eee 29664 110.00 0.20s 22.00
\7/31/01 MIN 1

“1 NIFL 01-214

frelephone conference with General

Tessy and Carolyn Shiver

relative to a new workers’ BILLED: #15770

compensation claim; money
that RPC may still have from
NIFL; and RPC's registration
as an Ohio Corporation.
or time: s=spent

ate / Start Time

aference
escription

7/31/01
1

elephone conference with
tacy from Sporthopedics
hysical Therapy.

7/30/01
1

egal research Re:

riolations.

17/31/01
‘i

Research Civil RICO Statute

and Case Law.

(31/01

lephone conference with
acy from Sporthopedics

ysical Therapy.

/30/01

voice from Porter,
id Arthur Re: Ohio

ivisdiction.

FOR PROFESSIONAL SERICES RENDERED:

LEVENTRY & HASCHAK, LUC
Case 2:02-cv-00548-TFM DdietaiiSliplListing-iled 09/18/07 Page 16 of 85

u=unbillable e=estimated

Attorney
Client
Matter

MUN
NIFL 01-214
General

BILLED: #15770

FBF
NIFL 01-214
General

BILLED: #15770

FBF
NIFL 01-214
General

BILLED: #15770

MIN
NIFL 01-214
General

BILLED: #15770

TCL
NIPFL 01-214
S&xpense Ttem

BILLED: #15770

Subtotal

v=variance

Rate
Level Time Total
110.00 0.10s 11.00
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125.00 1.008. 125.00
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125.00 1.00s 125.00.
1
110.00 °°0.10s 11.00
,
Oty Amount
1 500.00 -500.00
26.90 3,516.00
26.90 $3,516.00

BALANCE NOW DUE

Case 2:02-cv-00548-TFMLIDWEUNTOR ¥4B;A WiedPycqi07 Page 17 of 85

1397 Risenhower Boulevard
Richland Square III, Suite 202
Johnstown PA 15904

814-266-1799

National Indoor Football Leaque
C/O Carolyn Shriver

600 Loire Avenue

Lafayette LA 70507

Date September 30, 2001

Invoice 16019

INVOICE

File No. TY Q1-214
tte / Start Time Attorney
»ference Client Rate
2scription Slip Matter Level Time Total
Le 30012 125.00 0.758 93.75
B/09/01 FBE 1
1 , NIFL QO1i-214
eview federal RICO Statutes. General

BILLED: #16019

we ee ee ee 2.2.» 30028 110.00 0.405 44.00
8/03/01 MIN 1
‘1 NIFL 01-214
eview of hearing notice to General
letermine the number of
players who have not yet BILLED: #16019
xecen scheduled for a new .
learing, Telephone
conference with the
3ridgeport,: OH office. to try-
to get the August 15, 2001
hearing for Dennis Morris
rescheduled to be heard
August 9, 2001 in Columbus,
OH with the rest of the
cases.
Ce ee ee ee 30029 110.00 0.20s 22.00
08/03/01 MIN 1
* NIFL 01-214
Preparation of form to General
request continuance for
Dennis Morris. BILLED: #16019
Ce ee 30030 110.00 0.20s 22.00
08/03/01 MIN 1
1 NIFL O1-214
Dry amna eae aman OM FO lA rR eroOR Oe

CManarbrcsa)
Case 2:02-cv-00548-TE Vy RO RHIER! BARS érialed 0p/a8/07 Page 18 of 85

Detail! Slip Listing

ror time: s=spent u=unbillable e=estimated v=variance

Yate / Start Time

Attorney

ce ference Client Rate
Mescription Slip# Matter Level Time Total
See eee 30012 125.00 0.75s 93.75
08/09/01 FBP 1
‘1 NIFL 01-214
Review federal RICO Statutes. General

BILLED: #16019
See e eee e eee eea, 30028 110.00 0.405 44.00
08/03/01 MIN 1
*] NIFL 01-214
Review. of hearing notice to General
determine the number of
players who have not yet BILLED: #16019
been scheduled for a new
hearing, Telephone
conference with the
Bridgeport, OH office to try
to get the August 15, 2001
hearing for Dennis Morris
rescheduled to be heard
August 9, 2001 in Columbus,
OH with the rest of the
cases.
we ee eee 30029 110.00 0.20s 22.00
08/03/01 MIN 1
*1 NIFL 01-214
Preparation of form to General
request continuance for
Dennis Morris. BILLED: #160193
Se eee 30030 110.00 0.20s 22.00
08/03/01 MIJN 1
*7] NIFL 01-214
Preparation of letter to General

Bridgeport, OH Hearing
Administrator requesting a BILLED: #16019
Case 2:02-cv-00548- TEM PRAY Bd Schy Fileg 99418/07 Page 19 of 85

Detail Slip Listing

or time: s=spent u=unbillable e=estimated vV=vVariance

ate / Start Time Attorney

eference Client Rate

2scription Slip# Matter Level Time Total
ve ee ee ee 30030 cont.

hange of venue for the

ridgeport hearing.

De ee 30040 110.00 0.10s 11.00
8/06/01 MJIN 1

1 NIFL 01-214

elephone conference with General

essy relative to suits

iled by players from BILLED: #16019

arious NIFL teams; change

fF venue.

See ee te ee eee 30041 110.00 0.20s 22.00
8/06/01 MJN 1

1 NIFL 01-214

elephone conference with General

rian Hall, Attorney from

orter, Wright, Morris, and BILLED: #16019

rthur in Ohio relative to

heir attendance at the

ugust 9 hearings in

olumbus, Ohio.

cee ee eee 30042 110.00 1.20s 132.00
8/06/01 MIN 1

1 NIFL 01-214

reparation time on General

nformation to send Attorney

all in Ohio for the August BILLED: #16019

, 2001 hearings (claimant's

ames, Claim numbers,

ppeal request forms, notice

£ hearing forms,

nformation as to which

njuries occurred prior to

PC's termination cf the

ontract with the NIFL on

pril 13, 2001, etc.)

Se ee eee eee 30043 110.00 0.20s 22.00
8/06/01 MIN 1

1 NIFL 01-214

elephone conference with General
Case 2:02-cv-00548- TW BRAG B HScty Aled Pel18/07

or time: s=spent

ate / Start

Time
=ference
2=scription Slip#
vee eee ee ee eee eee 30043
athy Kennedy, Hearing
Iministrator from
ridgeport, Ohio concerning

ontinuance and change of
enue for Dennis Morris.

8/08/01

1

reparation of letter to
arolyn Shiver concerning
ayment for legal fees.

8/08/01

1

reparation of letter to

IFL teams explaining the
tatus of NIFL workers!
ompensation claims; phone
onference with Attorney

all relative to C-110's ‘for
he 8-9-01 hearings.

f£fice preparation time to
eview the C-110's received
rom the NIFL to find all
laims scheduled for hearing
mn 8-9-01, that have RPC
isted as the employer on
he C-110 and the claimants
hat have NIFL listed as the
mployer to fax to Attorney
lail for the hearings.

18/09/01

‘1

‘elephone conversation with
Shyllis Childers, former

u=unbillable e=estimated

Detail Slip Listing

Attorney
Client Rate
Matter Level
cont.
BILLED: #16019

110.00
MIN 1
NIFL 01-214
General
BILLED: #16019

110.00
MIN 1
NIFL 01-214
General
BILLED: #16013

110.00
MIN 1
NIFL 01-214
General
BILLED: #16019

110.00
MIN 1
NIFL 01-214
General.

V=Variance

Page 20 of 85

Time

0.10s

0.50s

2.60s

0.30s

Total

11.00

55.00

286.00

33.00
Case 2:02-cv-00548-TEVER OREN Wc 4 Aep Pe/18/07 Page 21 of 85

Detail Slip Listing

9k time: s=spent u=unbillable e=estimated

ite / Start Time Attorney
»ference Client

scription Sliv# Matter
ee ee ee eee 30060 cont.
mer of the Mobile BILLED: #16019

sagulls, concerning the
-atus of the workers’
mpensation suits.

ee ee eee 30061

3/09/01 MIN

L NIFL 01-214
2lephone conference with General

cacy from Sunbelt

shabilitation concerning BILLED: #16019
re status of Nicky

aymour's suit; Telephone

onference with Tessy from
[FL reminding them to send
it the explanatory letters
9 the medical providers.

8/13/01 MIN

1 | NIFL 01-214
=lephone conference with ‘General |

2ssy relative to Kareem

ance's C-110; the August 3, BILLED: #16019
O01 hearings; any refund by

he Ohio Bureau of Workers!

ompensation; Telephone

onference with Judy Re:

efunds from the Ohio Bureau

£f Workers!’ Compensation and

epresentations made to RPC.

elephone conference with

ttorney Brian Hall relative

o the August 9, 2001

earings; Finalization of

etter to NIFL concerning

ee agreement with our

ffice.

Dee ee ee ee 30071

8/13/01 MIN

1 NIFL 01-214
ffice preparation time on General

he review of notices for

V=variance

Rate
Level Time Total
110.00 0.20s 22.00
1
110.00 0.80s 88.00
1
110.00 0.40s 44.00
1
Case 2:02-cv-00548 77 Vig NPPRONS ASEH A Rilgdy 9/18/07 Page 22 of 85
Detail Slip Listing

r time: s=spent u=unbillable e=estimated v=variance

te / Start Time Attorney

ference Client Rate

scription Slip# Matter Level Time Total
we ee ee ee ees 30071 cont.

arings scheduled 8-27-01 BILLED: #16019

. Columbus; Review of the

‘ron Hearing

IMministrator's decision

lative to our appeal in

mhn Schmitt's hearing.

ee ee ees 30072 110.00 0.20s 22.00
3/13/01 MIN 1

L NIFL 01-214

reparation of letter for General

annis Morris! hearing on

/15/01 in Bridgeport, Ohio BILLED: #16019

tating the NIFL is

reserving their appeal

ights and our position.

See ee eee wee. 30204 125.00 0.10s 12.50
8/21/01 _ EBF 1

1 NIFL 01-214

elephone call to US General

ttorney's Office Re:

rosecution of RICO Action. BILLED: #16019

we ee ee eee 30209 125.00 0.20s 25.00
8/22/01 FBF 1

1 NIFL 01-214

elephone call to US General

ttorney John Valcosy Re:

ICO Action. BILLED: #16019

wee eee 30234 110.00 0.40s 44.00

8/15/01 MIN 1

1 NIFL 01-214

‘elephone conference with General

lichael Busch from Gem City

sone and Joint in Wyoming BILLED: #16019

relative to the status of

yvorkers' compensation

claims for Jeffrey Wray,
<evin Stanley, and Nkrumah
jatten.
Case 2:02-cv-00548-LEVERPRAMANWCH AKes Pe/18/07 Page 23 of 85
Detail Slip Listing

ox time: s=spent u=unbillable e=estimated V=variance

ate / Start Time Attorney

>ference Client Rate

>scription Slip# Matter Level Time Total
ee eee ee 30235 110.00 0.305 33.00
3/15/01 MIN 1

L NIFL 01-214

slephone conference with General

sssy relative to bills from

LEFT team players; and Mr. BILLED: #16019

sventry's attendance at the

ational Conference August

2-25, 2001; Review of

Llling information faxed by

8S8y.

Cee ee ee ee 30241 110.00 0.40s 44.00
3/16/01 MIJN 1

1 NIFL 01-214

2search to find an attorney General

) represent the Mobile,

eaguils in the suit against BILLED: #16019

1em brought by Kareem Vance

See ee ee 30246 110.00 0.20s 22.00
B/17/01 MUN 1

1 oo NIFL 01-214

slephone conference with General

udy from NIFL relative to

r. Leventry's attendance at BILLED: #16019

ne National Meeting on

ugust 22; names and fax

umbers of team owners; and

anceled check.

we eee eee 30251 110.00 1.40s 154.00
8/20/01 MIN 1

1 NIFL 01-214

reparation time on letter General

Oo NIFL team owners

xplaining the status of the BILLED: #16019

orkers' compensation claims.

Pe ee ee eee ee 30252 110.00 0.408 44.00
8/20/01 MIN 1

1 NIFL 01-214

reparation time on letter General

Oo Ohio Bureau of Workers'
yy time: s=s

Case 2:02-cv-00548- EN RRA Sich AoE PA/107, Page 24 of 85

pent

ate / Start Time

>ference
scription

Detail Slip Listing

u=unbillable e=estimated

Attorney
Client
Matter

ompensation Adjudicating
ommLttee relative to NIFL's

squest for a
lem.

hearing before

slephone conference with
arolyn Shiver relative to
nether the Bureau refunded

[FL premium payments;

Suits

y players against
ndividual teams; and
nether NIFL made any
epresentations to RPC
elative to an Ohio Team,

ames in Ohio,

and moving

he headquarters to Ohio.

8/20/01
1

cont.

BILLED: #16019

MIN
NIFL
General

01-214

BILLED: #16019

MIN

elephone conference with

athleen, who

works for an

labama medical care
rovider for NIFL players

e: a list of

players who

lay for the Mobile

eagulls;

Preparation time

m the list of players to
ax to Kathleen.

8/20/01
1

‘'elephone conference with
sregg Albright concerning

he status of

the Workers'

rompensation Hearings.

NIFL 01-214

General

BILLED: #16019

MUN
NIFL
General

01-214

BILLED: #16019

v=evariance

Rate
Level

110.00

110.00
1

Time

0.305

Q.30s

O0.20s

Total

33.00

33.00

22.00
Case 2:02-cv-O0548TIEWENTRY eM ASEH A Ril gd @9/18/07 Page 25 of 85

r time: s=spent

Detail Slip Listing

u=unbillable e=estimated

Attorney
Client
Matter

te / Start Time

ference

scription Slip#
te eee ee ee eee 30256
{20/01

fice preparation time to
view Records of
oceedings from the
dustrial Commission
‘lative to the 8-9-01
aring.

“eparation time on Appeal

- the District Hearing
"-ficer's denial of Dennis
orris' claim at the 8-15-01
2aring; research for

yrrect form to submit;
slephone conference with

1e Industrial Commission
slative to the correct form
> file.

8/21/01

1

elephone conference with
i111 from the Industrial
ommission relative to
etting the hearings
cheduled for 8-27-01
ontinued with the hearings
rom 8-9-01; Telephone
onference with Lee from
Lagnostic Imaging in
ennessee relative to the
lorkers' Compensation
‘laims; Telephone conference
ith Tessy relative to the
lational meeting and
‘inances.

MIN
NIFL
General

01-214

BILLED: #16019

MIJN
NIFL
General

01-214

BILLED: #16019

MJIN
NIFL
General

01-214

BILLED: #16019

VFvariance

110.00

Time

0.405

0.60s

0.408

Total

44.00

66.00

44.00
Case 2:02-cv-00548-T RN ERIS HAS AMEE PESO” Page 26 of 85
Detail Slip Listing

or time: s=spent u=unbillable e=estimated vevariance

ate / Start Time Attorney

>ference Client Rate

=scription Slip# Matter Level Time Total
Se ee ee es 30259 110.00 0.40s 44.00
3/21/01 MIN 1

| NIFL 01-214

reparation of letter to the General

idustrial Commission Re: a

onsolidation of the BILLED: #16019

sarings scheduled for

-27-O1 with the hearings

continued from the 8-9-01

saring.

te eee eee 30260 110.00 0.30s 33.00
3/21/01 MIN 1

L NIFL 01-214

reparation time on letter General

9 Rex Blateri requesting

11 documentation relating BILLED: #16019

> communications between

PC and the Bureau Re: the

TFL.

wee ee eee 30261 110.00 0.20s 22.00
8/21/01 | ce - MUN: a 1

1 | , NIFL 01-214

elephone conference with a General

edical provider in Kentucky

oncerning which player our BILLED: #16019

etter referenced,

we eee 30280 110.00 0.208 22.00
8/23/01 MIN 1

1 NIFL 01-214

inalization of letter to General

ureau Adjudicating

ommittee requesting a BILLED: #16019

earing before them.

See eee eee 30288 110.00 0.40s 44,00
8/24/01 MIN 1

1 NIFL 01-214

elephone conference with General

he Industrial Commission to

etermine the status of the BILLED: #16019
ases scheduled for 8-27-01;
Case 2:02-cv-00548- TAM pRIPRY Hyd 48d Kled 9918/07 Page 27 of 85

Detail Slip Listing

Or time: s=spent u=unbillable e=estimated

ate / Start Time

Attorney
Client
Matter

eference

escription Slip#
See ee eee eee 30288
elephone conference with
ttorney Hall relative to

he 8-27-01 Hearings;
elephone conference with
essy concerning teams

inding attorneys for the
ndividual suits and then
ontacting our office for
pdates.

wee ee eee eee 30289
8/24/01

1

reparation time on faxes

oncerning suits by separate
IFL players against NIFL
eams.

9/18/01

1

etter:. Next. Day Air charges
o Industrial Commissioner
olumbus, OH.

9/18/01

1

etter: Next Day Air charges
Oo Industrial Commission,
cungstown District.

8/27/01

1

reparation time concerning
he request for a

ontinuance for John
chmitt's 8-28-01 Hearing in
oungstown, Ohio.

cont.

MIN
NIFL 01~214
General

BILLED: #16019

MIN
NIFL 01-214

$Postage

BILLED: #16019

MIN
NIFL 01-214
$Postage

BILLED: #16019

MJIN
NIFL 01-214
General

BILLED: #16019

V=variance

Rate

Level

110.00

[F
2
ke

110.00

Time

0.30s

Amount
13.50

Amount
12.50

0.40s

Total

33.00

13.50.

12.50

44.00
Case 2:02-cv-00548- TAM ERGWT A EAS y Feq P¢t8/07 Page 28 of 85
Detail Slip Listing

2k time: s=spent u-=unbillable e=estimated v=variance

ate / Start Time Attorney

2ference Client Rate

2scription Slip# Matter Level Time Total
Se ee eee eee, 30298 110.00 0.20s 22.00
3/27/01 MIN 1

L NIFL 01-214

-eparation time on Appeal General

© the 8-15-01 Hearing for

ennis Morris. BILLED: #16019

ee ee ee 30309 110.00 0.405 44.00
3/28/01 MIJN 1

L NIFL 01-214

slephone conference with General

>SSy and Attorney Jackson's

sceptionist relative to BILLED: #16019

oan McCorvey's suit;

slephone conference with

.chael Gossman relative to

LSSissippi Firedogs claims.

eee ee eee 30320 110.00 0.50s 55.00
3/29/01 MJN 1

L NIFL 01-214

-fice preparation time in General

ompiling a list of medical

Llls to forward to each BILLED: #16019

Pam.

ee ee ee ees 30322 110.00 0.10s 11.00
3/30/01 MIN 1

l NIFL 01-214

slephone conference with General

>SSsy to update her that I

allied Attorney Jackson BILLED: #16019

John McCorvey's attorney)

id left a message of our

sttlement proposal to try

id avoid a default

1dgment; John Schmitt's

1ee brace; and NIFL team

laim totals.

Ce ee ee ee 30323 110.00 0.20s 22.00
3/30/01 MIN 1

| NIFL 01-214

2lephone conference with General
Case 2:02-cv-00548-. EMEN PRIMES H Ailedi99/18/07 Page 29 of 85
Detail Slip Listing

or time: s=spent u=unbillable e=estimated v=variance

ate / Start Time Attorney

>ference Client Rate

2scription Slip# Matter Level Time Total
Lee ee ee 30323 cont.

ctorney Jackson relative to

ostponing the default BILLED: #16019

2aring set for 8-31-01, for
ohn McCorvey.

we ee ee ee 30324 110.00 0.90s 99.00
8/30/01 MIJN 1

1 NIFL 01-214

FEice preparation time on General

eviewing claims for players

n each league team. BILLED: #16019

we ee 30325 110.00 2.40s 264.00
8/30/01 MUN 1

1 NIFL 01-214

ffice preparation time on General

etters to teams explaining

he total amount of BILLED: #16019

ompensation claims we have
or each team.

wee eee ee eee ee «30333 oO Oo 110.00 0.30s 33.00 -

18/31/01 MIN 1
1 NIFL 01-214

‘elephone conference with General

frarious medical providers

‘elative to the status of BILLED: #16019

IIFL claims.

eee ee ee ee 30338 110.00 0.30s 33.00
19/04/01 MJN 1
1 NIFL 01-214

Telephone conference with General

cindy from an Alabama

nedical center and with BILLED: #16019

Slack Hills Surgery Center;
relative to the status of
NIFL claims.
Case 2:02-cv-00548-LEMENPRYNS WS CH AR ep Pe/18/07 Page 30 of 85
Detail Slip Listing

9x time: s=spent u=unbillable e=estimated vV=variance

ite / Start Time Attorney
>ference Client Rate
scription Slip# Matter Level Time Total
eee eee 30339 110.00 0.30s 33.00
»/04/01 MIJN 1
NIFL 01-214
‘fice preparation time on General
1@ review of the District
caring Officer's decision BILLED: #16019
1 hearings on August 27 and
3, 2001.
ees 30340 110.00 0.10s 11.00
9/04/01 MUN 1
. NIFL 01-214
slephone conference with General
-Lorney Jackson relative to
1@ continuance request BILLED: #16019
canted in John McCorvey's
iit.
Cee ee ee eee 30341 110.00 1.80s 198.00
2/04/01 MIN 1
L NIEFL 01-214
[fice preparation time on General
ompiling copies of player
sdical information to send BILLED: #16019
> NIFL teams.
Se ee eee ee eee 30357 145.00 0.20s 29.00
8/17/01 TCL 1
1 NIFL 01-214
eview correspondence from General
rian Hall of Porter,
right, Morris and Arthur BILLED: #16019
e: letter relative to
earings.
Se ee eee 30387 145.00 0.50s 72.50
8/21/01 TCL 1
1 NIFL 01-214
reparation time on General
orrespondence to all team
wners Re: Workmen's BILLED: #16019

ompensation situation.
Case 2:02-cv-00548-TWERGHIM 8 HMScay Aled Pe/18/07 Page 31 of 85
Detail Slip Listing

or time: s=spent u=unbillable e=estimated v=variance

ite / Start Time
>ference

scription Slip#

Attorney
Client
Matter

cepare and make
resentation at the owner's
seting in Nashville, TN

ashville Hotel - $189.00
5 Air Transportation Round
rip Nashville to Baltimore
$190.00

sund Trip Shuttle Service
com Nashville Airport -
18.00

altimore Airport parking -
26.00

8/31/01
1
eview correspondence with
orter, Wright, Morris and
rthur Re: August 27, 2001
earings.

esearch Re: mail fraud.

eview Correspondence Re:
and Sharks, specifically

ith Re: to John Schmitt and

ith Mississippi Fire Dogs
e: 7/21/01 injury.

TCL
NIFL 01-214
General

BILLED: #160193

TCL
NIFL 01-214
SExpense Item

BILLED: #16019

TCL
NIFL 01-214
General |

BILLED: #16019

FBF
NIFL 01-214
General

BILLED: #16019

TCL
NIFL 01-214
General

BILLED: #16019

Qty

145.00

125.00

145.00

Time

2.308

Amount
423.00

0.208

0.258

0.20s

Total

333.50

423.00

29.00

31.25

29.00
Case 2:02-cv-00548- FEW ENGR an HASEHAKE gd, P%/18/07

or time: s=spent u-=unbillable e=-estimated

ate / Start Time

>ference

=Sscription Slip#
ee ee ee 30828
2/05/01

[fice Preparation time on
sVvising calculations of
nounts owed by each NIPFL
cam to include the newly
ipmitted claims.

3/05/01

L

reparation time in
ompiling player medical
iformation to send each
sam for their review.

9/06/01

L

aview of additional
istrict Hearing Officer
scisions issued from the
-27-O01 hearing.” ,

9/06/01

L

inalization of letters to
cams explaining the total
nount of claims.

9/06/01

1

elephone conference with
essy relative to the
ontinuance of McCorvey's
uit and no default judgment
ntered and the amount that
IfL paid to RPC for
orkers' compensation
remiums that were never
aid; Telephone conference

Detail Slip Listing

Attorney
Client
Matter

MIN
NIFL

01-214

General

BILLED:. #16019

MIN
NIFL

01-214

General

BILLED: #16019

MJN
NIFL

01-214

General

BILLED: #16019

MJIN
NIFL

01-214

General

BILLED: #16019

MJN
NIFL

01-214

General

BILLED: #16019

V=variance

110.00

110.00

110.00

110.00

Page 32 of 85

Time

1.00s

1.30s

0.20s

0.80s

0.80s

Total

110.00

143.00

22.00

88.00

88.00
Case 2:02-cv-00548-FEYENSR¥ngnHABCH AK CHDO/18/07 Page 33 of 85
Detail Slip Listing

or time: s=spent u=unbillable e=estimated

ite / Start Time

Attorney
2>ference Client
>scription Slip# Matter
ee ee ee ee 30832 cont.
ith Sondra, a medical
covider for one of the
ississippi Fire. Dogs,
2lative to the status of
1@ claims; Telephone
onference with Scott, the
rainer for the Land Sharks
oncerning an unpaid MRI
Lll the team did not
ithorize; Telephone
onference with Debra
slative to Lamonte
oodbury's medical bill in
Lssissippi; Telephone
onference with Christy from
ake Charles Memorial
elative to Marcus LeBlanc.
ce ee eee ee 30836
9/07/01 MIN
1 NIFL 01-214
inalization of letters toa General

eam Owners...

9/07/01

1

elephone conference with
essy to clarify what the
IEL is asking us to do Re:
he Kareem Vance suit.

9/10/01
i

‘elephone conference with
‘essy concerning the NIFL's
‘ailure to pay bill thus far.

BILLED: #16019:

MIN
NIFL 01-214
General

BILLED: #16019

MJN
NIFL 01-214
General

BILLED: #16019

V=vVarilance

Rate
Level

110.00

110.00

110.00

Time

0.40s

0.205

0.208

Total

44.00

22.00

22.00
Case 2:02-6v-00548- FAN ERA WAS Ae PRISIO? Page 24 of 85
Detail Slip Listing

or time: s=spent u=unbillable e=estimated v=variance

ite / Start Time Attorney

sference Client Rate

2scription Slip# Matter Level Time Total
ee eee ee 30843 110.00 0.205 22.00
9/10/01 MIN 1

[L NIFL 01-214

reparation time on the General

etter to NIFL requesting

mediate payment of our BILLED: #16019

sgal fees before we can

ontinue working on the

ocrkers' compensation matter.

Ce ee ee ee 30856 110.00 0.30s 33.00
9/12/01 MIN 1

lL NIFL 01-214

2lephone conference with General

assy concerning the letter

arolyn Shiver received with BILLED: #16019

16 total bill for the Bayou

sast; the amount remaining

nat the NIFL owes our

ffice.

Se eee eee 30858 110.00 0.20s 22.00
9/13/01 - Soe a MIN . 1

1 NIFL 01-214

ffice Preparation time for General

Telephone conference with

areem Vance's Attorney in BILLED: #16015

mn attempt to resolve his

uit against the NIFL and

arolyn Shiver.

See ee ee ee ee 30859 110.00 0.20s 22.00
9/13/01 MJIN 1

1 NIFL O1-214

elephone conference with General

he Ohio BWC Adjudicating

ommittee Coordinator to BILLED: #16019

equest that any hearing
cheduled be scheduled
hrough a phone conference.
Case 2:02-cv-00548-BEVENSRYnénHASCH AM CHINE/18/07 Page 35 of 85
Detail Slip Listing

or time: s=spent u-=unbillable e=estimated v=variance

ite / Start Time Attorney

ference Client Rate

2scription Slip# Matter | Level Time Total
ee ee ee ees 30861 110.00 0.705 77.00
9/13/01 MIN 1

L NIFL O1-214

slephone conference with General

>Ssy concerning the facts

irrounding the Kareem Vance BILLED: #16019

wwsuit against the Bayou

nast, and phone numbers and

ocial security numbers of

layers whose hearing

2cisions the NIFL is

»pealing.

Se ee ee 30862 110.00 3.00s 330.00
1/13/01 MJN 1

L NIFL 01-214

reparation time on appeal General

orm IC-12 to appeal from

ye decisions issued BILLED: #16019

ollowing the 8-27-01 and

-28-O1 hearings; collection

fF C-110 forms to submit

ith each player's appeal

orm,

we ee eee eee ...30865 110.00 0.30s 33.00
9/14/01 MIN 1

1 NIFL 01-214

elephone conference with General

ttorney Guerrierio's Office

elative to Kareem Vance's BILLED: #16019

uit; Telephone conference

ith Tessy concerning the

tatus of the Kareem Vance

uit.

ve ee eee 30866 110.00 0.20s 22.00
9/14/01 MIN 1

1 NIFL 01-214

elephone conference with General

arolyn Shiver relative to
pecific facts that occurred BILLED: #16019
n the Kareem Vance Case.
Case 2:02-cv-00548- TW ERIK BH Scay HG Pe/18/07

or time: s=spent u=unbillable e=estimated

ate / Start Time

Detail Slip Listing

Attorney
2ference Client
sscription Slip# Matter
Se ee ee 30867
9/14/01 MIJN
1 NIFL 01-214
inalization of Appeals from General

-27-O1 and 8-28-01.

reparation time on a cover
etter to send to each
layer with a copy of the
ppeal of the workers's
ompensation decision from
-27-Q1 and 8-28-01;
elephone call to Attorney
uerriero's office.

ffice preparation time
eviewing hearing notices

or NIFL workers'
ompensation cases continued
orm 10-4-01

9/18/01

1

ffice preparation time on
he review of hearing
otices for a 10-4-01
earing.

9/18/01

1

‘elephone conference with CJ
(i11, from Christus St.
‘fabrini Hospital relative to
he next hearing date for
fhristopher Lazard;

BILLED: #16019

MUN

NIFL 01-214
General

BILLED: #16019

MJN

NIFL 01-214
General

BILLED: #16019

MUN
NIFL 01-214
General

BILLED: #16019

MIN
NIFL 01-214
General

BILLED: #16019

V=Variance

110.00

110.00

110.00

110.00

Page 36 of 85

Time

0.50s

0.20s

0.40s

0.60s

0.408

Total

55.00

22.00

44.00

66.00

44.00
Case 2:02-cv-00548-7 EMER PAE WANE ARP NR/ 1807 Page 37 of 85

yr time: s=spent

u=unbillable e=estimated

Detail Slip Listing

vV=Variance

ike / Start Time

-Ference

scription Slip#
ee ee ee ee ee ae 30881

feparation time on letter
> CJ Hill confirming the
omntent of our discussion.

slephone conference with
idy to determine whether
ne NIFL had received a
re-trial statement from
ttorney Guerriero relative
Oo Kareem Vance, within
even days before the
cheduled pre-trial
onference on 9-18-01;
reparation time on the
areem Vance case prior to
alling the Judge's Chambers
o discuss our offer to
ettle and Attorney
uerriero’s failure to
nswer our calls.

19/18/01
1

"rinalization of letters to
players enclosing a copy of
che NIFL's appeal of the
3-27-O1 and 8-28-01 hearings.

99/18/01

«1

Telephone conference with
Attorney Guerriero and Mona
from Judge Irving's office
relative to the status of
Kareem Vance's suit.

Attorney
Client Rate
Matter Level Time
cont.
110.00 0.50s
MIN 1
NIFL 01-214
General
BILLED: #16019
110.00 0.2058
MIN 1
NIFL 01-214
General
BILLED: #16019
110.00 0.40s
MJN 1
NIFL 01-214
General

BILLED: #16019

Total

95.00

22.00

44.00
Case 2:02-cv-00548- LAW ENGURM a HIASEIH Ake @, 1/18/07

or time: s=spent u=unbillable e=estimated

ate / Start Time

Detail Slip Listing

Attorney
Client
Matter

=ference

2scription Slip#
Dee eee ee 30891
2/19/01

L

2lephone conference with
nen from USA Medical Center
1 Mobile, Alabama relative
2 William James' claim;
2lephone conference with
arolyn Shiver to update her
1 the Kareem Vance status
onference; payments being
snt to our office from the
sague; and a form for
asurance for the League

sxt year.

9/19/01

1

slephone conference with
ohn Fourcade, a general
anager and NIFL player
elative to the status of
he Workers' Compensation -
laims.

elephone conference with
he Rapid City Red dogs
eneral Manager relative to
he status of the Workers!’
ompensation claims.

esearch to determine the
istance between Attorney
all's firm and the
ridgeport, Ohio hearing for
ennis Morris; Preparation
ime on letter to Carolyn
dvising that the NIFL must

MJN

NIFL 01-214
General

BILLED: #16019

MIJN
NIFL 01-214
General

BILLED: #16019

MIN
NIFL 01-214
General

BILLED: #16019

MIN
NIFL 01-214
General

BILLED: #160198

V=varliance

110.00

119.00

110.00

Page 38 of 85

Time

O.30s

0.405

0.20s

Total

33.00

44.00

22.00

22.00
Case 2:02-cv-005487TFVienPARY Ne 1 ASCH A RilgG,Q9/18/07 Page 39 of 85
Detail Slip Listing

r time: s=spent u=unbillable e=estimated v=variance

te / Start Time Attorney

ference Client Rate

scription Slip# Matter Level Time Total
ce ee ees 30899 cont.

tain local counsel

lative to the extent of

reem Vance's injuries.

ce ee ee 30900 110.00 0.208 22.00
1/20/01 MIN 1

NIFL 01-214

‘eparation time on letter General

>» RPC demanding return of

1g money the League paid BILLED: #16019

1em for workers'

mmpensation funds.

Le ee ee 30901 110.00 0.20s 22.00
3/20/01 MIN 1

L NIFL 01-214

reparation time on letter General

> Wyoming Calvary relative

2 their rejection of the BILLED: #16019

TFL's Settlement Offer.

Lecce eect eee ees 30902 110.00 0.30s 33.00
9/20/01 MUN 1

1 NIFL 01-214

reparation time on letter General

o Judge Brenza ( the Judge

n the Vance vs. Beast case) BILLED: #16019
elative to the question as
o whether coverage exists
or NIFL claimants.

See ee ee ee 30804 110.00 0.50s 55.00
19/21/01 MIN 1
‘1 NIFL O1-214
‘elephone conference with General
Sharon Price, Adjudicating
Tommittee Coordinator BILLED: #16019

relative to a phone
zonference on 9-11-01.
finalization of letter to
Judge Brenza who is on the
fareem Vance suit and wanted
tnformation relative to NIFL
Case 2:02-cv-00548-FEMENBRkn&nH ecu AM enI0g/18/07 Page 40 of 85
Detail Slip Listing

or time: s=spent u=unbillable e=estimated v=variance

ite / Start Time Attorney

‘ference Client Rate

scription Slip# Matter Level Time Total
Se ee ee ee 30904 cont.

verage issues.

ee es 30911 110.00 0.30s 33.00
9/24/01 MIJN 1

L NIFL 01-214

“fice Preparation time on General

1e demand letter to RPC for

oney NIFL paid to RPC for BILLED: #16019

2rkers' compensation

remiums; Telephone

onference with Carolyn

liver concerning the status

f teams who are reviewing

reir medical claims.

Se ee 30912 110.00 0.20s 22.00
9/24/01 MIN 1

1. NIFL 01-214

ffice preparation time on General

etter to NIFL advising them

o obtain local counsel to BILLED: #16019

andle investigation into

xtent of Vance's injuries.

wee ee ee 30913 110.00 0.80s 88.00
9/24/01 MIN 1

1 NIFL 01-214

ffice Preparation time on General

IFL position statement in

ieu of attendance at the BILLED: #16019

1-26-01 Hearing for Dennis

lorris.

Le ee ee 30819 110.00 0.60s 66.00
19/25/01 MIN 1

1 NIFL 01-214

rinalize letter in lieu of General

attendance at Dennis Morris
1e@aring. BILLED: #16019
Case 2:02-cv-00548-TEMEWDRIN@ MH MREH AK EH0e/18/07

u=unbillable e=estimated

Detail Slip Listing

Vv=variance

or time: s=spent

ite / Start Time

ference

scription Slip#
Se ee ee ee ee 30924
1/26/01

slephone conference with
-Lorney Young from Porter,
right Morris and Arthur
onfirming her attendance at
1e 10-4-01 workers'
ompensation hearings;
slephone conference with
odd Zaborac relative to the
ocoming 10-4-01 hearing in
iic and the status of the

[FL Workers' Compensation
laims.

wee es 30925
9/26/01

1

elephone conference with
he medical provider for
ohn Avalos concerning the
tatus of his workers!
ompensation claim; |
elephone conference with
ancy from Black Hiils
urgery Center relative to
he status of the Red Dog
layers football claims;
elephone conference from
ennis Hayes of the Red Dogs
tating that they will have
response Re: the total
mount of workers'
compensation claims soon.

19/27/01

1

‘elephone conference with
sheila from Sioux Falls
fedical Services to explain
che workers’ compensation
situation; Telephone
conference with Alan “Zaborac
(Todd Zaborac's father)

Attorney
Client Rate
Matter Level
110.00
MIN 1
NIFL 01-214
General
BILLED: #16019
110.00
MJN 1
NIFL 01-214
General
BILLED: #16019
110.00
MJN 1
NIFL 01-214
General
BILLED: #16019

Page 41 of 85

Time Total
0.30s 33.00
0.608 66.00
0.50s 55.00
Lo Case 2:02-cv-00548-TENE VBOLGR¥n® HA SCHEAMS, 69/08/07 Page 42 of 85

Detail Slip Listing

For time: s=spent u-=unbillable e=estimated v=variance

Date / Start Time

Attorney
Reference Client Rate
Description Slip# Matter Level
See eee eee, 30931 cont.
relative to the workers’
compensation situation.
Se eee ee eee 30937 110.00
09/28/01 MIN 1
*1 NIFL 01-214
Office Preparation time General
relative to our response
Statement of facts the Ohio BILLED: #16019
Bureau of Workers!
Compensation Adjudicating
Committee for the 10-11-01
hearing.
Se eee ee ee eee 31014
08/01/01 - 08/30/01 MIN
«1 NIFL 01-214 Oty
Representation and research SExpense Item 1
by Porter Wright Morris and
Arthur, Re: Workers' ‘ BILLED: #16019
Compensation, thru Aug.
30,. 2001.
Se ee ees 31059 125.00
09/21/01 FBF 1
*1 NIFL 01-214
Review RICO statutes; Legal General
research Re:
McCarran-Ferguson Act - RICO BILLED: #16019
applicability to Insurance
Laws of Ohio.
See ee ee 31069 125.00
09/24/01 FBF 1
* NIFL 01-214
Legal research - review USC General
Re: case law to support
civil RICO case. (internet BILLED: #16019
not working.) DO NOT BILL

Subtotal

FOR PROFESSIONAL SERICES RENDERED:

Time Total
0.80s 88.00
Amount
2957.20 2957.20
2.00s 250.00
0.30s 37.50
0.30u
90.75 9.135.45
50,75 $9,135.45

wo
Case 2:02-cv-00548-TFM Document 148-1 Filed 09/18/07 Page 43 of 85
LEVENTRY LAW OFFICE
1397 Eisenhower Boulevard
Richland Square III, Suite 202
Johnstown PA 15904
814-266-1799

National Indoor Football Leaque pate Novem 30, 2001
C/O Carolyn Shriver ~ Invoice 16:

600 Loire Avenue

Lafayette LA 70507

INVOICE
File No. T 01-214
Date / Start Time Attorney
Reference Client Rate l
Description Slip# Matter bevel time AOna
bce ee eee ee eee 31263 110.00 0:30s 33.00
10/01/01 MIN 1
eT NIFL 01-214
Office Preparation time on General
Response Statement of facts
to submit to the BILLED: #16502
Adjudicating Committee
relative to the 10-11-01
phone conference
eee eee ee ee eee ee 1265 110.00 - 0.60s 66.00
10/02/01 MIN 1
*1 NIFL 01-214
Office Preparation time on General
the NIFL's position
statement to send to John BILLED: #16502
Schmitt's hearing on |
10-18-01.
wee ee ee ee 31266 110.00 0.30s 33.00
10/02/01 MIN 1
*] NIFL Q1-214
Phone conference with USA General

Medical Center on whether

our office was representing BILLED: #16502

individual team players that

received services from their
medical center; Telephone

conference with Neil Harris,

the Attorney for Cedar Lake
Case 2:02-cv-00548-TFM Document 148-1 Filed 09/18/07 Page 44 of 85

ate / Start Time Attorney
eference Client Rate
escription Slip# Matter Level Time Total
wee ee ee eee 31266 cont.
urgery Center, Open MRI,
ne., and Orthopedics., who
ave all provided medical
ervices for the Mississippi
‘iredogs.
See eee eee 31159
0/15/01 MIN
1 NIFL 01-214 Qty Amount
etter: Next Day Air charges $Postage 41 12.40 12.40
-O Industrial Commission.
BILLED: #16502
ee ee 31160
0/23/01 MIN
‘1 NIFL 01-214 Qty Amount
wetter: Next Day Air charges $Postage 1 18.73 18.73
co The Industrial Commission
in .Columbus, OH. ~BILLED:. #16502
Se ee ee eee 31291 110,00 — 0.10s 11.00
10/05/01 MIN 1
«1 NIFL 01-214
Telephone conference with General
medical provider for Jacobe
Austin relative to the BILLED: #16502
status of Worker's
Compensation claims.
ce ee eee eee 31298 110.00 0.40s 44.00
10/08/01 MIN 1
*1 NIFL QO1~214
Finalization of response General
statement of facts for the
10-11-01 Telephone , BILLED: #16502
conference with the
Adjudicating Committee in
Ohio. .
Se ee eee 312993 110.00 0.60s 66.00
10/08/01 MIJN 1
*1 NIFL 01-214
Telephone conference with General

Tina and Shawn from NIFL to

try and determine when NIFL BILLED: #16502
received the Anthony Parker

denial from the Ohio Bureau

of Worker's Compensation;

research to determine

whether Anthony Parker had

Se Oe eee ee
Case 2:02-cv-00548 7 WENIGRYT Ben ASEH A Rilgq 9/18/07 Page 45 of 85
Detail Slip Listing

r time: s=spent u=unbillable e=estimated v=variance

te / Start Time Attorney
ference Client Rate
scription Slip#t Matter Level Time Total
Se eee eee eee 31303 110.00 0.20s 22.00
/09/01 MIN 1
NIFL 01-214
nalization of Response General
atement of Facts for
lephone conference with BILLED: #16502
io Adjudicating Committee.
Se ee ee eee 31304 110.00 0.708 77.00
/09/01 MIN i
NIFL 01-214
fice preparation time on General
1@ appeal for John Schmidtt.
BILLED: #16502
cee eee 31312 110.00 0.20s 22.00
{10/01 MIN 1
NIFL 01-214
nalization of letter in General
.eu of attendance at John
chamitt's 10-18-01 hearing. BILLED: #16502
Le ee ee ee eee 31341
1/15/01 MIJN
L NIFL 01-214 Oty Amount
ailing Notice of Appeal to $SPostage 54 0.57 30.78
[TEL Players.
BILLED: #16502
ve ee ee .. 31461 110.00 0.60s 66.00
0/11/01 MIN 1
1 NIFL 01-214
ffice preparation time for General
he phone conference with
he Adjudicating Committee BILLED: #16502
elative to workers’
ompensation coverage in
hio.
Se ee 31462 110.00 0.30s 33.00
0/11/01 MIJN 1
1 NIFL 01-214

djudicating committee General
Case 2:02-cv-O0548EIF- WENT Wind HASEELA Ri €0,09/18/07
Detail Slip Listing

rc time: s=spent

u=unbillable e=estimated

te / Start Time Attorney
ference Client
scription Slip# Matter
Se ee ee 31462 cont.

aring via telephone
mference relative to issue
worker's compensation
verage in Ohio.

lone conference with Diane
‘om North Monroe Hospital
) Louisiana.

)/12/01

L

1one conference with Sandra
com Good Samaritan relative
> the status of Greg
lbright's claim; Phone
onference with Cindy from
labama Orthopedic

oncerning the status of.the
orkers' Compensation Claims.

inalization of Dennis
orris’ appeal relative to
is 9-26-01 hearing.

ffice preparation time on
he review of Records of
roceedings sent from the
hio Bureau relative to the
0-4-01 appeal hearings.

BILLED: #16502

MUN
NIFL 01-214
General

BILLED: #16502

MIN
NIFL 01-214
General

BILLED: #16502

MJN
NIFL 01-214
General

BILLED: #16502

MIJN
NIFL 01-214
General

BILLED: #16502

vV=variance

Rate
Level

110.00

110.00

110.00

110.00

Page 46 of 85

Tame

0.20s

0.40s

0.708

0.40s

Total

22.00

44.00

77.00

44.00
Case 2:02-cv-00548TEMENIR née HA SCH A Kildcl(@/18/07 Page 47 of 85
Detail Slip Listing

xr time: s=spent u=unbillable e=estimated v=variance

te / Start Time Attorney

ference Client Rate

scription Slip# Matter Level Time Total
See ee ee es 31480 110.00 0.20s 22.00
/15/04 MJN 1

NIFL 01-214

lephone conferences with General

an 4Zaborac relative to the

‘aring officer's denial of BILLED: #16502

dd Zaborac's claim; Phone

nversation with Monica

‘om a medical center in

mnroe relative to the

-atus of the workers'

mpensation claims.

ee eee ce es 31481 110.00 0.80s 88.00
)/15/01 MIN 1

NIFL 01-214

reparation and finalization General

© letter explaining the

urrent status of NIFL BILLED: #16502

oarkers' compensation claims

> Attorney Neil Harris,

-torney for 3 medical

roviders in Mississippi who

ave treated NIFL players.

Se ee eee 31482 110.00 1.30s 143.00
9/16/01 MJN 1

1 NIFL 01-214

inalization of review on General

enial of coverage from the

0-04-01 hearing. BILLED: #16502

we ee eee 31483 110.00 0.90s 99.00
0/16/01 MIN 1

1 NIFL 01-214

reparation time on the General

ppeal of approximately 53

enials of workers' BILLED: #16502

ompensation claims.

Se ee es 31484 110.00 0.90s 99.00
0/16/01 MIN 1

1 NIFL 01-214

reparation time on appeal General
r time:

Case 2:02-cv-0054 6) FANE ND ae yee ASEH A Kilipq 69/18/07 Page 48 of 85

S=spent

te / Start Time

Ference
scription

u=unbillable e=estimated

Detail Slip Listing

Attorney
Client
Matter

tter in lieu of attendance
John Schmitt's 10-26-01

aring.

/16/01

nalization of appeal

tter for John Schmitt's
~18-01 hearing with

spect to the 5-29-01
sallowance of his claim

d employer's failure to
‘ceive timely notice; phone

nference with Julio,

from

ie Industrial Commission
‘lative to the 10-18-01
2aring and status.

V/17/01
L

slephone conference with
spresentative from the

apid City Red Dogs relative
o the status of Workers'
ompensation claims and a
ossible time period the
ituation will take to
emedy; Office preparation
ime on response letter to
ttorney Neil Harris’

nquiry Re:

workers'

ompensation bills for the
edical centers he

epresents.

ffice preparation time on
he League's request for
ippeals from the 10-04-01
lenial of workers!

cont.

BILLED: #16502

MJN
NIFL
General

01-214

BILLED: #16502

MJN
NIFL . 01-214
General

BILLED: #16502

MJIN
NIFL
General

O1-214

BILLED: #16502

v=variance

Rate
Level Time
110.00 1.00s
1
110.00 Q0.30s
1
110.00 0.50s
1

Total

110.00

33.00

55.00
Case 2:02-cv-O0548 7 FWENTRW Ge MASEHA Killed @9/18/07 Page 49 of 85
Detail Slip Listing

rotime: s=spent u=unbillable e=estimated v=variance

te / Start Time Attorney

ference Client Rate

scription Slip# Matter Level Time Total
wee ee es 31498 cont.

vee eee eee 31499 110.00 0.50s 55.00
1/18/01 MIN 1
NIFL O1-214
eparation of cover letter General
» Carolyn Shiver relative
») their bill amount and BILLED: #16502

yrter, Wright, Morris and
‘thur's request for
mediate payment.

ee ee ee 31500 110.00 0.30s 33.00
)/18/01 MIN 1

. NIFL 01-214

»lephone conversation with General

(ke Wallace with the Sioux

ity Storm because he just BILLED: #16502

2ceived our team total
stter due to absence at the
Ffice in the off season;
2lephone conference with
srry from the Ohio Bureau

fF Workers’ Compensation to
atermine whether a PEO must
ave additional liability
’asurance for any of their
sgligent acts.

Se ee ee 31511 110.00 0.30s 33.00
0/19/01 MIN 1

1 NIFL 01-214

reparation of letter to General

hawn at the NIFL requesting

he social security numbers BILLED: #16502
nd telephone numbers of

ach player with a hearing

n 10-4-01 for the appeals.

we ee 31512 110.00 0.50s 95.00
0/19/01 MIN 1

1 NIFL 01-214
reparation time on General
“7° Case 2:02-cv-00548sWENTGey Be AGEHA Kiled @9/18/07 Page 50 of 85
Detail Slip Listing

r time: s=spent u=unbillable e=estimated

te / Start Time Attorney
ference Client
scription Slip# Matter

wi ee 31512 cont.

llection of information to

tach to appeals as BILLED: #16502

idence that the Bureau was
ill debating whether Ohio
d jurisdiction over NIFL
aims while the Bureau

sued the certificates and
verage began.

ee ee es 31896

/13/01 MIN

. NIFL 01-214
view of refund check the General

lo BWC issued the NIFL in

stober and research to BILLED: #16502
stermine what the check was

rr.

ee ee ee 31907

1/24/01 MIN

L NIPL 01-214
2view of RPC's response to General ,
[FL demand letter, Review

Ff contract and documents BILLED: #16502
xecuted between RPC and

IFL to determine whether

PC is entitled to the

anagement fee.

Le ee ee eee 31908

0/24/01 MIN

1 NIFL 01-214
reparation time on letter General

o Carolyn Shiver with
espect to RPC's response to BILLED: #16502
ur demand letter and
liegations with their

response.

eee eee ee eee ees 31911

0/25/01 MIN

1 NIFL 01-214

relephone conference with General

v=variance

Rate
Level

110.00

110.00

110.00

110.00

Time

0.30s

1.308

0.50s

0.60s

Total

33.00

143.00

55.00

66.00
Case 2:02-cv-00548y TineNaaey Re ASO Ha Kileq @9/18/07 Page 51 of 85

r time:

te / Start Time
ference
scription

s=spent

u=unbillable e=estimated

Detail Slip Listing

Attorney
Client
Matter

lo BWC to determine what
i@ 10-2-01 refund check was
yx and whether ROC had
posited $9,217.01 at the
lio BWC for the NIFUL;
slephone conference with
indy from Alabama
cthopedics relative to the
ratus of NIFL workers'

ompensation claims.

9/26/01
1

reparation time on

ttachment letter to ICc-12
ppeals from the 10-4-01

earing;

Telephone

onference with Deidre from
he Industrial Commission
ith respect to the address
o send the attachments.

0/30/01
1

‘inalization of additional
‘ttachment to appeals from
O-4-O1 hearing.

1/05/01
<1

YFfice time on the review of
-he Adjudicating Committee's
opinion from the 10-11-01

1earing.

11/06/01
x1

Review of Hearing Officer
decision concerning John

cont.

BILLED: #16502

MJN
NIFL
General

O1-214

BILLED: #16502

MIN
NIFL
General

01-214

BILLED: #16502

MIN
NIFL
General

O1-214

BILLED: #16502

MIN
NIFL
General

01-214

v=varlance

Rate
Level

110.00

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110.00

110.00

Time

1.00s

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0.2038

Q0.10s

Total

110.00

33.00

22.00

11.00
r time:

s=spent

Case 2:02-cv-0054 8. EWENTRVERASEHA Kjleqd.09/18/07 Page 52 of 85

te / Start Time

ference
scription

aring.

Detail Slip Listing

u=unbillable e=estimated

Attorney
Client
Matter

view of the Appeal of the
ijudicating Committee's

‘der on October 1li,

2001.

slephone conference with
isa Douglas from BlackHills
irgery Center concerning

laim status.

1

reparation of letters to

SA Medical Center and.
lackhills Surgery Center to
xplain the current status

£ NIFL claims per their

equest.

1/09/01
1

'elephone conference with

enise (Works
fare provider)
he claim for

for a medical
concerning
Emmanuel

Sentley and the current

status.

L1/12/01
‘1

Preparation time on John

cont.

BILLED: #16502

TCL
NIFL
General

01-214

BILLED: #16502

MUN
NIFL
General

01-214

BILLED: #16502

MIN
NIFL 01-214
General ,

BILLED: #16502

MUN
NIFL
General

01-214

BILLED: #16502

MIN
NIFL
General

01-214

v=varlance

Rate
Level

145.00

110.00

110.00

110.00

110.00

Time

0.20s

0.20s

0.50s

0.20s

0.80s

Total

29.00

22.00

95.00

22.00

88.00
Case 2:02-cv-005487 hirhVENagey Re ASE HA Kigq @9/18/07 Page 53 of 85
Detail Slip Listing

xr time: s=spent u=unbillable e=estimated v=variance

te / Start Time Attorney

ference Client Rate

scription Slip# Matter Level Time Total
ce ee ee 32277 cont.

hmitt appeal from the

1-26-01 hearing; letter to BILLED: #16502
FL requesting any

iformation they have on the

ite they filed C-110's with

ie BWC.

ee ee eee 32278 110.00 0.80s 88.00
1/12/01 MIN 1

L NIFL 01-214

reparation time on appeal General

F BWC Adjudicating
ommittee denial of workers’ BILLED: #16502
ompensation coverage.

Sm ee ee eee ee 32279 110.00 0.20s 22.00
1/12/01 MIN 1

l NIFL 01-214

slephone conference with General

aul Goebel, a medical care

rovider for some Johnstown BILLED: #16502
Dogs. to check the status ,

f the workers' compensation

laims.

be ee eee 32288 110.00 0.40s 44.00
1/14/01 MIN 1

1 NIFL 01-214

elephone conference with General

edical care providers from

ake Charles and Mississippi BILLED: #16502
m the status of NIFL claims.

we eee 32289 110.00 0.40s 44.00
1/14/01 MJN 1

1 NIFL 01-214

‘inalization of appeal for General

ohn Schmitt claim #
J1-351602 BILLED: #16502
Case 2:02-cv-0054§- FR Ny PRS! Bala epi HE te 69/18/07 Page 54 of 85
Detail Slip Listing

r time: s=spent u=unbillable e=estimated v=variance

cre / Start Time Attorney
ference Client Rate
scription Slip#t Matter Level Time Total
Le ee 32292 110.00 0.60s 66.00
{15/01 MIN 1
NIFL 01-214
lephone conference with General
awn relative to evidence
the date C-110's were BILLED: #16502
led; Response to letter
‘om Wyoming Cavalry's
ttorney.
ee ee eee 32296 110.00 0.30s 33.00
(/16/01 MIN 1
L NIFL 01-214
inalization of Appeal from General
NC adjudicating Committee
acision BILLED: #16502
Le eee 32297 110.00 0.208 22.00
1/16/01 MIN 1
1 NIFL 01-214
elephone conference with General
ichael Bush from Gem City
n workers' compensation BILLED:. #16502
laim status. co mo oO
we ee ee 32303 110.00 0.20s 22.00
1/19/01 MJN 1
1 NIFL 01-214
Jeview of Notices of Hearing General
For 12-10-01
BILLED: #16502
Le ee ee ees 32307 110.00 0.30s 33.00
11/19/01 MJIN 1
a1 NIFL 01-214
Finalization of compensation General.
claim status letters to 2
medical providers. BILLED: #16502
Le ee 32308 110.00 0.80s 88.00
11/19/01 MJN 1
x1 NIFL 01-214

Preparation time on letter General
Case 2:02-cv-0054¢- EME NDRSU Raa S44 Kite @9/18/07 Page 55 of 85
Detail Slip Listing

- time: s=spent u=unbillable e=estimated v=variance

-e / Start Time Attorney

“erence Client Rate

scription Slip# Matter Level Time Total
De ee eee eee 32308 cont.

lieu of attendance for

ch Mathers claim on BILLED: #16502

-29-O0O1.

ee te ee ee eee 32312 110.00 1.00s 110.00
{20/01 MJN 1

NIFL 01-214
view of Notices of Hearing General
yx 53 hearings scheduled
r 12-10-01; Telephone BILLED: #16502
nference with Stacey from
orthopedics and a Monroe
dical provider relative to
aim status.

wee ee ee ee 32317 110.00 2.00s 220.00
f26/01 MJN 1

NIFL O1-214

‘eparation of documents to General

ix Attorney Jung for

?—-10-01 hearings. BILLED: #16502

Le eee eee 32318 110.00 0.30s 33.00
1/26/01 MIN 1

L NIFL 01-214

slephone conference with General

tCtorney Jung and letter to
onfirm she will attend the BILLED: #16502
2-10-01 hearings.

Lecce enn eee eee 32319 110.00 0.70s 77.00
1/26/01 . MIN 1

1 NIFL Q1-214
reparation and finalization General
f follow up demand letter

Oo RPC. BILLED: #16502

ee ee 32320 110.900 0.50s 55.00
1/26/01 MJN 1

1 NIFL 01-214

reparation and finalization General
»f letter on additional
Case 2:02-cv-00548LEMENIR Yeh ASGHA Kj|G.09/18/07 Page 56 of 85

u=unbillable e=estimated

Detail Slip Listing

v=variance

cv time: s=spent

te / Start Time

ference

scription Slip#
Le ee es 32320

idence of refund for
peal hearings from 8-27-01
arings.

f27/01

.

idition to John Schmitt
ypeal from the October 2001
2aring.

1
setter to NIFL Re: payment
o Porter, Wright.

1/29/01

inalization of letter to
ttorney Barbe, attorney for
he Wyoming Calvalry.

1/29/01

1

‘elephone conference with
vtarolyn on the status of RPC
suit and offer possible
settlement to vendors;
“inalization of updates on
3-27-01 appeals and letter
ro Carolyn explaining the
same.

10/30/01

«i

Invoice from Porter, Wright,
Morris & Arthur Re: Services

Attorney
Client Rate
Matter Level Time
cont.
BILLED: #16502
110.00 0.40s
MJIN 1
NIFL 01-214
General
BILLED: #16502
110.00 0.3058
MIN 1
NIFL 01-214
General
BILLED: #16502
110.00 Q.20s
MIN 1
NIFL 01-214
' General —
BILLED: #16502
110.00 0.50s
MIJN 1
NIFL 01-214
General
BILLED: #16502
MJIN
NIFL 01-214 Qty Amount
SExpense Item 1 219.76

Total

44,00

33.00

22,00

55.00

219.76
Case 2:02-cv-00548-TERV ENrIReat HAR 6 HAE d199.8/07

ror time: s=spent

Mate / Start Time
Reference

v=unbillable e=estimated

Detail Slip Listing

Jescription Slip#
Se ee eee eee 32387
cendered Re: Worker's
compensation issue thru
September 30, 2001 Copy
attached.

we ee ee ee ees 32388
11/29/01

* 1

Invoice from Porter, Wright,
Morris & Arthur Re: Services

rendered Re: Worker's

Compensation issue thru
October 31, 2001. Copy
attached, ° os

v=variance

Page 57 of 85

FOR PROFESSIONAL SERICES RENDERED:

Attorney
Client Rate
Matter Level Time Total
cont.
BILLED: #16502
MIN
NIFL 01-214 Oty Amount
SExpense Ttem 1 605.06 605.06
BILLED: #16502
Subtotal 29.80 4,171.75
29.80 $4,171.75
BALANCE NOW DUE

Case 2:02-cv-00548-TFM Document 148-1 Filed 09/18/07 Page 58 of 85

LEVENTRY LAW OFFICE
1397 Eisenhower Boulevard
Richland Square LII, Suite 202
Johnstown PA 15904
814-266-1799

National Indoor Football Leaque
C/O Carolyn Shriver
600 Loire Avenue

Lafayette LA 70507
INVOICE
File No. T 01-214

e / Start Time Attorney

erence . . Client Rate
cription - Slipi Matter Level
Pe es 32530 110.00
(/03/01 MIN 1
NIFL O1-214

-Lephone conference with General

un Caro on the status of

orkers'’ Compensation. BILLED: #16809

ee ee ee 2.32540 110.00
2/04/01 MIN 1
1 NIFL 01-214

reparation of letter to General

arolyn on a settlement

ffer. BILLED: #16809
Le 32544 110.00
2/05/01 MJN 1
rd NIFL 01-214
felephone conference with General
Jan Caro; telephone
conference with Renee from BILLED: #16809

John Schmitt's medical
provider; Preparation of
documents requested during
the telephone conferences.

Time

0.208

0.10s

0O.50s

Date January 31, 2002
Invoice 16809

Total

22.00

11.00

55.00
Case 2:02-cv-00549; EMEN DRW Rcd ASEH IG ibUO©9/18/07 Page 59 of 85

r time: s=spent

Detail Slip Listing

u=unbillable e=estimated

Attorney
Client
Matter

-e / Start Time

rerence

scription Slip#
De ee ee ee ee 32545
{05/01

lephone conference with
arles Price (medical
ovider); and
presentative for the Red
gs on the status of NIFL
aims.

/O7/01

L

‘eparation time on response
stter to John Schmitt's
iguiries.

2/07/01

1

elephone conference with
ttorney Andrew Burrell from
ississippi, the Attorney

or Nicky Seymour and
manuel Bentley; telephone
conference with Mississippi
ledical Provider on the
status.

[2/11/01

‘1

[Telephone conference with
cindy from Alabama
Irthopedics on the status.

12/13/01

*1

Preparation time on Zach
Mathers appeal from the
11-29-01 decision; telephone
conference with Shawn on the
dates of the 2001 season and

MIN
NIFL
General

01-214

BILLED: #16809

MJN
NIFL
General

01-214

BILLED: #16809

MIJN
NIFL
General

01-214

BILLED: #16809

MJN
NIFL
General

01-214

BILLED: #16809

MIN
NIFL
General

01-214

BILLED: #16809

vevariance

110.00

110.00

110.00

110.00
1

Time

0.20s

0.40s

0.3058

0.80s

Total

22.00

44.00

33.00

22.00

88.00
Case 2:02-cv-O054878 IRIN DR Use EDA SEA KF ileal ©9/18/07 Page 60 of 85
Detail Slip Listing

- time: s=spent u=unbillable e=estimated v=variance

e / Start Time Attorney
‘erence Client Rate
scription Slip# Matter Level Time Total
ee ee 32778 cont.
ment of Porter, Wright
Ll.
we ees 32779 110.00 0.208 22.00
/13/01 MIN 1
NIFL 01-214
lephone conference with General
eve Odham, Mississippi
redogs General Manager. BILLED: #16809
we ee 32793 110.00 0.20s 22.00
/14/01 MIN 1
NIFL 01-214
‘lephone conference with General
ane from Monroe, Louisiana
1. the status of NIFL. BILLED: #16809
Le ee es 32817 110.00 0.20s 22.00
2/19/01 MIN 1
L NIFL 01-214

slephone conference with General

indy from Alabama oO oo
rthopedics on the status of BILLED: #16809
IFL claims; Lori from

id-State Orthopedics; and

joux City Center.

Le eee 32825 110.00 0.30s 33.00
2/20/01 MIN 1

1 NIFL 01-214

eview of Record of Workers Comp.

>roceedings from 12-10-01

jearings. BILLED: #16809

Le eee ee ees 33044 110.00 0.605 66.00
12/21/01 MJN 1

* NIFL 01-214

Review of Agreement between General

RPC and NIFL and facts

surrounding signing of their BILLED: #16809
contract.
Case 2:02-cv-00548HE VENER UNS HASEH A Ri/¢q.@9/18/07 Page 61 of 85
Detail Slip Listing

ro time: s=spent u-=unbillable e=estimated v=variance

te / Start Time Attorney
ference Client Rate
scription , Slip# Matter Level Time Total
Se ee ees 33046 110.00 0.20s 22.00
/26/01 MIN 1
NIFL 01-214
view of three Records of General
oceedings from the
/10/01 Hearing; BILLED: #16809
eparation of letter to
FL confirming our receipt
their check for Porter.
ee ee eee 33054 110.00 0.30s 33.00
/27/01 MIN 1
NIFL 01-214
‘eparation time on letter General
» Carolyn Shiver Re: the
cisions from 12-10-01 BILLED: #16809
marings and decision to
‘op further appeals.
ee ee 33070 110.00 Q.30s 33.00
L/02/02 MIN 1
L NIFL 01-214
slephone conference with General
2nyou Beast medical provider — 0
1 status of NIFL claims. BILLED: #16809
Lee ee es 33073 110.00 0.30s 33.00
1/03/02 MJIN 1
L NIFL 01-214
reparation time for General
djudicating Committee
elephone conference, BILLED: #16809
we ee ee ee ees 33074 110.00 0.50s 35.00
1/03/02 MIN 1
1 NIFL 01-214
elephone conference with General

he Bureau Adjudicating
ommittee. BILLED: #16809
Case 2:02-cv-0054§ FANENE ROY RCA CELA Keg 69/18/07 Page 62 of 85
Detail Slip Listing

r time: s=spent u=unbillable e=estimated

Attorney
Client
Matter

-e / Start Time

ference

scription Slip#
ee ee ee eee eas 33087
/04/02

lephone conference with
e radiology center on the
atus of claims.

nalization of letter
plaining hearing officer's
nial of coverage.

{10/02

-lephone conference with
hn Schmitt, J-Dogs Player
id a medical provider for
fi-City Diesel Re: status

- NIFL claims.

reparation time on Zach
athers Appeal.

reparation time on letter

o Shiver explaining
djudicating Committee
earing; Telephone

onference with Tri-City
iesel and Gem City, Medical
roviders, on NIFL claim
tatus, letter to NIFL Re:
ayment.

MIJN
NIFL 01-214
General

BILLED: #16809

MJN

NIFL 01-214
General

BILLED: #16809

MIJN
NIFL 01-214
General

BILLED: #16809

MIN
NIFL 01-214
General

BILLED: #16809

MIN
NIFL 01-214
General

BILLED: #16809

v=evarlance

110.00

110.00

110.00

110.00

Time

0.10s

0.20s

0.30s

0.50s

0.708

Total

11.00

22.00

33.00

55.00

77.00
Case 2:02-cv-00548TEWENERYN& ASCH A Kilqd 9/18/07 Page 63 of 85
Detail Slip Listing

x time: s=spent u-=unbillable e=estimated v=variance

te / Start Time

Attorney
ference Client Rate
scription Slip# Matter Level Time Total
Se eee eee ene 33253 110.00 0.30s 33.00
/17/02 MIJN 1
NIFL 01-214
nalization of letter to General
iver on 1-3-02
jJudicating Committee BILLED: #16809
lephone conference.
Se ee ee eee 33281 110.00 0.20s 22.00
/22/02 MIN 1
NIFL 01-214
lephone conference with General
awn on current status of
FL claims. BILLED: #16809
See eee ee ee 33288
/11/02 MIN
NIFL 01-214 Qty Amount
tter: Next Day Air charge SPostage 1 14.11 14.11
. Industrial Commission,
BILLED: #16809
wee ee eee ee 33536 ‘110.00 0.208 22.00
{28/02 MIJN 1
NIFL 01-214
lephone conference with General
\rolyn Shiver on her
‘oposal to vendors for a BILLED: #16809
ttlement.
cee ee ee eee 33543 110.00 0.30s 33.00
/29/02 MIN 1
NIFL 01-214
‘eparation time on letter General

» Theresa from Walnut
idiology on the status of
‘Dog workers compensation
aims; Telephone conference
th Sheri from Billings

ltlaws.

BILLED: #16809
For time: s=spent u=unbillable e=estimated

Date / Start Time

LEVENTRY & HASCHA
Case 2:02-cv-00548-TFM Dogymen Gh aerd

Attorney
Reference Client
Description Slip# Matter
Se ee eee 33544
01/30/02 MIN
* 1 NIFL 01-214
Telephone conference with General

Medical Provider for Sioux

City Falls on status of
claims.

12/13/01

*1

Porter Wright Morris and
Arthur invoice # 6811993
dated December 10, 2001 See
attached. -

01/20/02

*1

Porter Wright Morris and
Arthur invoice # 684160
dated January 18, 2002 See
attached.

FOR PROFESSIONAL SERVICES RENDERED:

BILLED: #16809

MIJN
NIFL 01-214
SExpense Item

BILLED: #16809

MIN
NIFL O1-214
SExpense Item

BILLED: #16809

Subtotal

BALANCE NOW DUE

v=Vvariance

ec dartsio7 Page 64 of 85

Rate

Level Time

110.00 0.20s
1

Oty Amount

1 272.63

Qty Amount

1 534.49

8.80
8.80

Total

22.00

272.63

534.49

1,789.23

$1,789.23
Case 2:02-cv-00548- [AAW RIN GURL AW 1D FRI@H/18/07 Page 65 of 85
1397 Eisenhower Boulevard

Richland Square Hl, Suite 202
Johnstown PA 15904
814-266-1799

National Indoor Football Leaque April 18, 2002
C/O Carolyn Shriver Invoice # 16989
600 Loire Avenue
Lafayette LA 70507
INVOICE
File No. T 01-214
Hours
Workman's Compensation
02/01/02 TCL Correspondence with Carolyn Shriver Re: RPC Claim. 0.20
02/05/02 MJN_ Telephone conference with Sheri from the Billings Outlaws Re: 0.20
status of workers compensation claims.
02/06/02 MIJN Conversation with Alabama orthopedics on status of NIFL. 0.10
02/07/02 MIN Telephone conference with Mr. Green, Sioux City Player and 0.40
with medical provider for Sioux City and Gem City Bone & Joint
on status of Workers’ compensation claims.
MIJN _ Preparation time on letter to Shiver Re: Deadline for RPC filing. 0.20
02/11/02 MJN_ Telephone conference with Shiver Re: payment of bill and 0.20
retainer and filing RPC suit.
MIJN Preparation time on letter to Shiver confirming conversation . 0.20
MJN_ Telephone conference with Mark from North Monroe Hospital 0.20
and player Dan Caro, on status of Workers' Compensation claims.
02/14/02 FBF Meeting with Attorney Leventry and Attorney Nagy; Meeting 0.25
with Attorney Nagy Re: filing Federal Complaint.
MIN Preparation of documents to send to Billings Outlaws per their 0.30
request; telephone conversation with Zaborac Re: status of claims.
MIJN Conference with Attorney Leventry and Attorney Fordham on 0.40
RPC suit.
02/15/02 MIJN Preparation time on suit against RPC 2.10
MIJN Research re: venue, statute of limitations. 0.80
02/18/02 MIJN Research in false pretenses cases in Workers’ compensation. 0.20
MIJN Research on RICO. 1.50

02/19/02 MIJN Research on RICO 1.50
Case 2:02-cv-00548-TFM Document 148-1 Filed 09/18/07 Page 66 of 85

National Indoor Football Leaque Page 2
Hours
02/20/02 MIJN Telephone conference with Sioux City Medical provider Re: 0.10
status of NIFL claims.
MIJN Preparation time on filing complaint against RPC. 0.30
MIJN Research on RICO. 0.50
MIJN Conference with Attorney Fordham on RICO and NIBL. 0.50
02/21/02 MJN_ Telephone conference with Attorney Rafferty on Statute of 0.30
Limitations and Tina from NIFL Re: status of RPC suit.
MIJN Research on commencement of suit provisions. 0.50
MIJN Preparation of timeline of occurrences in workers’ compensation 0.40
case.
02/22/02 FBF Research Civil RICO Cause of Action and case law Re: pattern of 1.00
racketeering activity.
FBF Research standing, jurisdiction; venue; elements of Civil RICO 2.60

for Federal Complaint; Research Ohio Law Re: statute of
limitations on claim against state agency; research sovereign
Immunity Issues; Research Notice to Municipality - Ohio Law.

MIJN Research on RICO claim for RPC suit. 1.40
02/25/02 MJN_ Research on standing. 1.20
02/26/02 MIJN Research to determine if NIFL is bound by venue clause in RPC 0.60
contract.
02/27/02 MJN Research on venue clause. 0.80
02/28/02 MJN Research on venue. 1.20
03/01/02 FBF Discussion of Venue and Jurisdiction issues with Attorney Nagy. 0.10
MJN_ Review of case law Re: venue and forum selection clauses. 1.10
MIN Telephone conference with Sherri from Billings Outlaws on 0.10
status and information we have in our files.
03/05/02 MIJN Telephone conference with Cindy at Alabama Orthopedics and 0.20
Dennis from Bull Dogs Re: status.
MIJN Conference with Attorney Leventry Re: venue and forum 0,20
selection clause.
03/06/02 MJN_ Telephone conference with Carolyn Shiver Re: Status of RPC suit. 0.10
03/07/02 MIN Conference with Attorney Leventry Re: Venue and where to file 0.20
suit.
03/08/02 MJN Conference with Attorney Fordham Re: Preparation of complaint 0.20
against RPC.
03/11/02 MIJN Telephone conference with Attorney for Sioux Fall Re: status of 0.20
NIEL.
MJN Telephone conference with Attorney Young from Porter, Wright 0.20

Re: RPC.
03/11/02
03/12/02

03/13/02

03/14/02

03/15/02

03/18/02

03/19/02

Case 2:02-cv-00548-TFM Document 148-1 Filed 09/18/07 Page 67 of 85
National Indoor Football Leaque

MIJN

MIN

MIN

FBF

Preparation time on statement of facts for NIFL vs. RPC sutt.
Telephone conference with Good Samaritan Medical Provider,
and with Open MRI Re: Status of NIFL claims.

Research re: whether parties agree to change venue despite a
forum selection clause, can the district court enforce a forum
selection clause on its own.

Telephone conference with Attorney Brian Hall Re: assisting in
NIFL vs. RPC.

Finalization of statement of facts for RPC.

Conference with attorney Fordham Re: NIFL vs. RPC.
Research on exact court in which NIFL must file against RPC;
Telephone conference with Clerk of Courts; and research on
Local Rules.

Research re: Nuances of Trumbull County District Court Judges.

Preparation time on letter to Attorney Hall at Porter Re: RPC suit.

Review of file and documents; Review RPC Contract; Legal
Research Re: venue, Jurisdiction; Ohio State Law Causes of
Action; Review Rules and Admission Procedure to Federal Court,
Northern District of Ohio.

Research at the Blair County Courthouse Re: Federal Law
Racketeering Threshold.

Telephone conference with North Monroe Hospital Re: Status of
Claims.

Telephone conference with Bernie Caputto Re: jurisdiction of
Western District vs. Ohio Jurisdiction of Federal Court.

Meeting with Attorney Leventry and Attorney Nagy Re: venue -
coordinating with an Ohio Firm.

Prepare draft of federal complaint; Review and revise draft; add
counts of Breach of Contract, and fraud; Review correspondence
from Attorney Caputo Re: consent to venue; research Federal
District Court Jurisdiction and venue statutes in United States
Code.

Conference with Attorneys Fordham and Leventry Re: RPC suit.
Telephone conference with Wendy at Black Hills Orthopedic;
Telephone conference with Carolyn Re: status.

Review and revise Draft of Federal Complaint.

Preparation time on email to Attorney Weber at Porter, Wright
Re: status of RPC suit; Telephone conference with Black Hills
Orthopedic Re: Status of Suit.

Page 3
Hours

0.60
0.20

0.40

0.20
1,00

0.30
0.80

0.20
0.20
2.00

3.20
0.10
0.20
0.25

3.10

0.30
0.30

1,20
0.40
Case 2:02-cv-00548-TFM Document 148-1 Filed 09/18/07 Page 68 of 85
National Indoor Football Leaque Page 4

Hours

03/20/02 FBF Revise Federal Complaint; Complete District Court filing 1.80
documents - ie Crvil Cover Sheet; Waiver of Service of
Summons, etc. Telephone call to clerk Re: filing in Johnstown
for Pittsburgh case.
FBF Finalize Complaint; File at District Court Clerk's office, 1.70
Johnstown; Correspondence to client; Correspondence to
Attorney Caputo Re: Waiver of Summons’ Notice of Lawsuit.
MIN Research on US District Court for the Western District Forms to 1.20
submit with Complaint; Review of Complaint against RPC and
amount in legal bills NIFL has paid.
MIJN Telephone conference with NIFL Re: filing and county their 0.30
headquarters 1s m and total of medical bills to this point.
03/22/02 MIN Telephone conference with Michelle Carlson from Montana Re: 0.20
Montana claims.
TCL Telephone conference with the Montana Bureau State Fund of 0.20
Workers’ Compensation Re: lawsuit against RPC.
03/28/02 MIJN Telephone conference with USA Medical Center Re: Status of 0.20
NIFL claims.
MJN Preparation time on master list from NIFL Re: all players injured. 0.50

SUBTOTAL: [ 43.80 5,097.00]

FOR PROFESSIONAL SERVICES RENDERED: 43.80 $5,097.00
ADDITIONAL CHARGES:

03/20/02- Complaint filing fee paid to Clerk of Federal District Court paid by our check # 150,00
11645

Total costs $150.00

TOTAL AMOUNT OF THIS BILL: $5,247.00

PREVIOUS BALANCE: -$3,210.77
02/26/02- Retainer for payment of Porter Wright Morris & Arthur -$807.12

BALANCE DUE: $1,229.11

Case 2:02-cv-00548-T iW EDUPR¥ TLAAY OFFICBH/18/07 Page 69 of 85
1397 Eisenhower Boulevard
Richland Square Il, Suite 202
Johnstown PA 15904
814-266-1799

National Indoor Football Leaque June 21, 2002
C/O Carolyn Shriver Invoice # 17556
600 Loire Avenue
Lafayette LA 70507
INVOICE
File No. T 01-214
Hours
Workman's Compensation
04/01/02 MJN Preparation time on response to Court request for RICO case 1.80
statement. .
04/02/02 FBF Review Order from Judge Ambrose Re: filing of RICO statement. 0.25
MJN Preparation time on RICO case statement Court requested. 1.30
04/03/02 MJN_ Telephone conference with Attorney from Wyoming Re: status of 0,20
workers' compensation claims.
04/04/02 MJN_ Telephone conference with Michelle Carlson from Montana State 0.20
Dept. Re: NIFL documents.
04/08/02 MIJN Telephone conference with Attorney Voigt, Attorney for Tri-City 0.20
Diesel medical provider.
04/09/02 MIJN Preparation time on correspondence to Nebraska Medical 0.30
provider's attorney Re: status of claims and RPC suit and
telephone conference with Blackhills Orthopedic Re: the same.
04/10/02 MIJN Preparation time on response to Federal Court's questions. 2.10
MIJN Telephone conference with Carney Imaging Center, Nebraska, 0.40
telephone conference with Carolyn Shiver Re: RICO Case
Statement.
04/11/02 MJN Preparation time on RICO case statement for Court. 2.70
04/12/02 FBF Review and revise NIFL RICO statement for filing; Legal 3.10

research conspiracy COA under Section 1962 (d); Research
liability under 1962 (c); Review of Complaint and proposed
changes and amendments.
MJN_ Research re: RICO for RICO Case Statement 1.10
04/15/02 MIJN Finalization of RICO Case Statement. 0.80
Case 2:02-cv-00548-TFM Document 148-1 Filed 09/18/07 Page 70 of 85
National Indoor Football Leaque Page

If You Would Like To Pay By VISA/MASTERCARD, Enter The Following Information And Return This
Page.

VISA MASTERCARD AMOUNT CHARGED $
CARD # SIGNATURE
EXPIRATION DATE (required)

Interest will accrue on balances over 30 days old at the rate of 1.5% per month.
Case 2:02-cv-00548-TERV BACDR&n LAW OR RD@EB/18/07 Page 71 of 85

1397 Eisenhower Boulevard
Richland Square UI, Suite 202
Johnstown PA 15904
814-266-1799

National Indoor Football Leaque June 21, 2002
C/O Carolyn Shriver Invoice # 17556
600 Loire Avenue
Lafayette LA 70507
INVOICE
File No. T 01-214
Hours
Workman's Compensation
04/01/02 MIJN Preparation time on response to Court request for RICO case 1.80
statement.
04/02/02 FBF Review Order from Judge Ambrose Re: filing of RICO statement. 0.25
MIJN Preparation time on RICO case statement Court requested. 1.30
04/03/02 MJN Telephone conference with Attorney from Wyoming Re: status of 0.20
workers' compensation claims.
04/04/02 MJN Telephone conference with Michelle Carlson from Montana State 0.20
Dept. Re: NIFL documents.
04/08/02 MJN Telephone conference with Attorney Voigt, Attorney for Tri-City 0.20
Diesel medical provider.
04/09/02 MIJN Preparation time on correspondence to Nebraska Medical 0.30
provider's attorney Re: status of claims and RPC suit and
telephone conference with Blackhills Orthopedic Re: the same.
04/10/02 MIJN Preparation time on response to Federal Court's questions. 2.10
MIJN Telephone conference with Carney Imaging Center, Nebraska; 0.40
telephone conference with Carolyn Shiver Re: RICO Case
Statement.
04/11/02 MIJN Preparation time on RICO case statement for Court. 2.70
04/12/02 FBF Review and revise NIFL RICO statement for filing; Legal 3.10

research conspiracy COA under Section 1962 (d); Research
lability under 1962 (c); Review of Complaint and proposed
changes and amendments.
MIJN Research re: RICO for RICO Case Statement 1,10
04/15/02 MIJN Finalization of RICO Case Statement. 0.80
Case 2:02-cv-00548-TFM Document 148-1 Filed 09/18/07 Page 72 of 85

National Indoor Football Leaque Page
Hours
04/22/02 FBF Re: RPC Employer Services- work on preparing amended 1.50
complaint
04/24/02 MIJN Telephone conference with Louisville Medical Provider Re: 0.30
status of compensation claims and with Carolyn Shiver Re: Status
of RPC suit.
04/25/02 FBF Work on Amended Complaint; Review Rules for Service and 0.25
Amendment of Complaint before Answer is served
MIJN Telephone conference with Marge from USA Medical Center Re: 0.20
Status of NIFL claims.
MIJN Conference with Attorney Fordham Re: Amended Complaint 0.30
against NIFL.
MIJN Review of Amended complaint against RPC and Telephone 0.60
conference with Carolyn Shiver Re: Dan D'Alio
04/29/02 FBF Re: RICO matter- Final Revisions to amended Complaint; 1.00
Telephone call to Attorney Caputo Re: D'Alio acceptance of
service (left message)
04/30/02 FBF Re: Worker's Comp. matter- Finalize Complaint; Telephone call 1.25
to/from Attorney Caputo Re: Acceptance of Service; Research
Corporate Conspiracy case law to determine if R.P.C. Employer
Services can be held liable under conspiracy court with Dan
D'Alio
FBF Re: RICO matter- File Amended Complaint with U.S. District 0.75
Court, Clerk of Courts
05/01/02 FBF Re: Worker's Compensation- Prepare correspondence; Waiver 0.25
forms and Notices; Forward same to Attorney Caputo
05/07/02 MJN Review of correspondence Re: Action Potential and Preparation 0.40
time on response letter.
05/10/02 MIJN Finalization of letter responding to Action Potential Physical 0.40
Therapy Re: Robert Hulett.
05/17/02 FBF Prepare correspondence to clerk of District Court Re: filing of 0.10
Waiver of Summons forms
05/31/02 MJN_ Telephone conference with Representative from Montana State 0.20
Fund Re: status of Workers' Compensation claims
SUBTOTAL: [ 21.95 2,583.50]
FOR PROFESSIONAL SERVICES RENDERED: 21.95 $2,583.50

Interest on overdue balance

$38.79

2
Case 2:02-cv-00548-TFM Document 148-1 Filed 09/18/07 Page 73 of 85

National Indoor Football Leaque Page
TOTAL AMOUNT OF THIS BILL: $2,622.29
PREVIOUS BALANCE: $1,229.11
BALANCE DUE: $3,851.40

Current 30 Days 60 Days 90 Days 120 Days

2,622.29 0.00 1,229.11 0.00 0.00

If You Would Like To Pay By VISA/MASTERCARD, Enter The Following Information And Return This
Page.

VISA MASTERCARD AMOUNT CHARGED $
CARD # SIGNATURE
EXPIRATION DATE (required)

Interest will accrue on balances over 30 days old at the rate of 1.5% per month.
Case 2:02-cv-O0O54BFIVENDPRYn& nH ASCGHAIK, BAS/07 Page 74 of 85

1397 Eisenhower Boulevard
Richland Square III, Suite 202
Johnstown PA 15904
814-266-1799

National Indoor Football Leaque August 14, 2002
C/O Carolyn Shriver Invoice # 17867
600 Loire Avenue
Lafayette LA 70507
INVOICE
File No. T O1-214
Hours
Workman's Compensation
07/08/02 FBF Motion to Withdraw Appearance; Correspondence to District 0.25
Court and opposing counsel
SUBTOTAL: [ 0.25 32.50]
General
07/12/02 TCL Telephone conference to seven (7) Medical Offices Re: status of 0.60
case
07/19/02 TCL Telephone conference with Shawn Re: errors and omissions 0.20
insurance for RPC
07/24/02 TCL Review time on Brief in Response to Defendant's Motion to 0.80
Dismiss
SUBTOTAL: [ 1.60 240.00]
FOR PROFESSIONAL SERVICES RENDERED: 1.85 $272.50
Interest on overdue balance $101.53
TOTAL AMOUNT OF THIS BILL: $374.03

PREVIOUS BALANCE: $3,851.40
Case 2:02-cv-00548-TFM Document 148-1 Filed 09/18/07 Page 75 of 85

National Indoor Football Leaque Page
Hours
04/22/02 FBF Re: RPC Employer Services- work on preparing amended 1,50
complaint
04/24/02 MIJN Telephone conference with Louisville Medical Provider Re: 0.30
status of compensation claims and with Carolyn Shiver Re: Status
of RPC suit.
04/25/02 FBF Work on Amended Complaint; Review Rules for Service and 0.25
Amendment of Complaint before Answer is served
MJN_ Telephone conference with Marge from USA Medical Center Re: 0.20
Status of NIFL claims.
MIJN Conference with Attorney Fordham Re: Amended Complaint 0.30
against NIFL.
MIJN Review of Amended complaint against RPC and Telephone 0.60
conference with Carolyn Shiver Re: Dan D'Alio
04/29/02 FBF Re: RICO matter- Final Revisions to amended Complaint; 1.00
Telephone call to Attorney Caputo Re: D'Alio acceptance of
service (left message)
04/30/02 FBF Re: Worker's Comp. matter- Finalize Complaint; Telephone call 1.25
to/from Attorney Caputo Re: Acceptance of Service; Research
Corporate Conspiracy case law to determine if R.P.C. Employer
Services can be held liable under conspiracy court with Dan
D'‘Alio
FBF Re: RICO matter- File Amended Complaint with U.S. District 0.75
Court, Clerk of Courts
05/01/02 FBF Re: Worker's Compensation- Prepare correspondence; Waiver 0.25
forms and Notices; Forward same to Attorney Caputo
05/07/02 MIJN Review of correspondence Re: Action Potential and Preparation 0.40
time on response letter.
05/10/02 MIJN Finalization of letter responding to Action Potential Physical 0.40
Therapy Re: Robert Hulett.
05/17/02 FBF Prepare correspondence to clerk of District Court Re: filing of 0.10
Waiver of Summons forms
05/31/02 MIJN Telephone conference with Representative from Montana State 0.20
Fund Re: status of Workers' Compensation claims
SUBTOTAL: [ 21.95 2,583.50]
FOR PROFESSIONAL SERVICES RENDERED: 21.95 $2,583.50

Interest on overdue balance

$38.79
Case 2:02-cv-00548-TFM Document 148-1 Filed 09/18/07 Page 76 of 85

National Indoor Football Leaque Page
TOTAL AMOUNT OF THIS BILL: $2,622.29
PREVIOUS BALANCE: $1,229.11
BALANCE DUE: $3,851.40

Current 30 Days 60 Days 90 Days 120 Days

2,622.29 0.00 1,229.11 0.00 0.00

If You Would Like To Pay By VISA/MASTERCARD, Enter The Following Information And Return This
Page.

VISA MASTERCARD AMOUNT CHARGED $
CARD # SIGNATURE
EXPIRATION DATE (required)

Interest will accrue on balances over 30 days old at the rate of 1.5% per month.
National Indoor Football Leaque

C/O Carolyn Shriver Invoice #
600 Loire Avenue
Lafayette LA 70507
INVOICE
File No. T 01-214
08/20/02 TCL Correspondence with Carolyn Shiver Re: status of case and

08/27/02

08/30/02

09/03/02

09/04/02

09/25/02

09/26/02

09/30/02

10/03/02
10/07/02

Case 2:02-cv-O0542E FA RIN DRY SeHASCH AIGdiobC3s/07 Page 77 of 85

TCL

TCL

TCL

TCL

TCL
TCL

TCL
TCL

TCL

TCL

TCL
TCL

1397 Eisenhower Boulevard
Richland Square II, Suite 202
Johnstown PA 15904
814-266-1799

preparation of Memorandum relative to Discovery Deposition of
Dan D'alio

Prepare Notice of Deposition, Certificate of Service and letter to
Attorney Caputo for Deposition of Dan Dalio

Teleconference with Attorney Caputo's secretary to schedule a
deposition

Returned phone call to Attorney Caputo's office Re: scheduling
deposition of Dan D'Alio

Preparation time on Notice of Deposition and letter to Attorney
Caputo Re: Don D'Alio

Preparation time on request for Production of Documents
Preparation time and review of file for a Request for Production of
Documents on RPC services

Preparation time on deposition questions for Dan D'Alio
Preparation time on deposition questions and review of file for
deposition of Dan D'Ahio.

Preparation time and final edit of Dan D'Alio deposition questions
along with a final review of the file.

Preparation time and photocopying of exhibits for the Dan D'Alto
deposition.

Prepare for and attend deposition in Pittsburgh

Preparation time on correspondence to Carolyn Shiver of the
NIFL Re: Dan D'Alio deposition

FOR PROFESSIONAL SERVICES RENDERED:

December 4, 2002

18335

Hours

0.30

0,40
0,20
0,20
0.40

0.20
1.80

1.80
1.20

1.00
0.60
7,00

0.50

15.60 $2,340.00
Case 2:02-cv-00548-TFM Document 148-1 Filed 09/18/07 Page 78 of 85
National Indoor Football Leaque Page

BALANCE DUE: $4,225.43

Current 30 Days 60 Days 90 Days 120 Days

412.82 2,583.50 0.00 1,229.11 0.00

Carolyn,

We need to receive a substantial payment on this invoice. ($2000.00 minimum by August 15,2002 and
$2000.00 by September 15,2002)

If You Would Like To Pay By VISA/MASTERCARD, Enter The Following Information And Return This
Page.

VISA MASTERCARD AMOUNT CHARGED $
CARD # SIGNATURE
EXPIRATION DATE (required)

Interest will accrue on balances over 30 days old at the rate of 1.5% per month.

2
Case 2:02-cv-O0548H VENDRYn& HASCHAK, D8408/07 Page 79 of 85

National Indoor Football Leaque
C/O Carolyn Shriver

1397 Eisenhower Boulevard
Richland Square WJ, Suite 202
Johnstown PA 15904
814-266-1799

600 Loire Avenue
Lafayette LA 70507

File No.

INVOICE

T 01-214

General

10/23/02 TCL

TCL
10/25/02 TCL

10/31/02 TCL

11/19/02 TCL

11/25/02 TCL

Phone conference with law firm of Ziegman & Speegie in Mobile,
AL Re: the suit by an individual player against the Mobile team
Phone conference to the NIFL offices Re: the suit in Mobile, AL
Telephone conference with Medical Group from Louisiana Re:
status of case in Federal Court

Phone conference with a representative of Paris Robinson,one of
the players who has $6,000.00 worth of claims against the NIFL
Phone conference with Great Plains Radiology Re: unpaid
balances owed by the Diesal football team

Phone conference with Paul Brown Re: the collection for the
unpaid bills for William James, a player for the Mobile Alabama
franchise

SUBTOTAL:

FOR PROFESSIONAL SERVICES RENDERED:

PREVIOUS BALANCE:
12/03/02- Payment -ck 1259- thank you
12/03/02- Credit finance charges billed in error

TOTAL PAYMENTS:

December 10, 2002
Invoice #

18532
Hours
0.20
0.20
0,20
0.20
0.20
0.30
1.30 195.00]
1.30 $195.00
$2,787.14
-$2,783,82
-$3.32

-$2,787.14
Case 2:02-cv-00548-TFM Document 148-1 Filed 09/18/07 Page 80 of 85
National Indoor Football Leaque

ADDITIONAL CHARGES:

10/03/02- 160 miles @ .32 per mile
- Parking in Pittsburgh

Total costs

Interest on overdue balance

Page

51.20
9,00

$60.20

$12.91

TOTAL AMOUNT OF THIS BILL:

PREVIOUS BALANCE:
09/17/02- Payment ck 1195 - thank you

$2,413.11

$4,225.43
-$3,851.40

BALANCE DUE:

$2,787.14

Current 30 Days 60 Days 90 Days 120 Days

2,400.20 0.00 0.00 272.50 114.44

Carolyn,

We need to receive a substantial payment on this invoice. ($2000.00 minimum by August 15,2002 and

$2000.00 by September 15,2002)

2
Case 2:02-cv-O054BH VE NOGRYr&nHAS CHAR, 9948/07 Page 81 of 85

National Indoor Football Leaque
C/O Carolyn Shriver

1397 Eisenhower Boulevard
Richland Square I, Suite 202
Johnstown PA 15904
814-266-1799

600 Loire Avenue
Lafayette LA 70507

File No.

INVOICE

T 01-214

General

12/02/02 TCL

12/19/02 TCL

01/13/03 TCL

01/29/03 TCL

TCL

Letter to Attorney Paul Brown in Mobile, Alabama Re: the
collection for William James

Correspondence with Carolyn Shiver Re: deposition and
settlement figures

Phone conference with Greg Albright player for Tri-city Diesel
Re: the status of the NIFL and RPC case

Phone conference with Sunbelt Rehabilitation in Mississippi Re:

John Seymour
Phone conference with Beaver Anesthesia Re: John Schmidt

SUBTOTAL:

FOR PROFESSIONAL SERVICES RENDERED:

PREVIOUS BALANCE:
01/03/03- Payment -ck 1277- thank you

BALANCE DUE:

February 13, 2003
Invoice #

18900

Hours

0.20

0.20

0.20

0.20

0.20

1.00

150.00]

1.00

$150.00

$195.00
-$195.00

$150.00

Case 2:02-cv-00548-TFM Document 148-1 Filed 09/18/07 Page 82 of 85
National Indoor Football Leaque Page 2

BALANCE DUE: $195.00

Case 2:02-cv-O054BEMENTRIn& HASCHARK, 9116/07 Page 83 of 85

1397 Eisenhower Boulevard
Richland Square III, Suite 202
Johnstown PA 15904
814-266-1799

National Indoor Football Leaque April 15, 2003

C/O Carolyn Shriver Invoice # 19651
600 Loire Avenue

Lafayette LA 70507

INVOICE
File No. T 01-214

Hours

General

02/14/03 TCL Phone conference with Kevin Stanley, former player of the 0.20
Wyoming Calvary, Re: unpaid medical bills and status of NIFL
case

02/27/03 TCL Phone conference with the open MRI clinic in Mississippi Re: 0.20
claims for unpaid services

SUBTOTAL: [ 0.40 60.00]

FOR PROFESSIONAL SERVICES RENDERED: 0.40 $60.00

PREVIOUS BALANCE: $150.00
04/07/03- Payment -ck 1323- thank you -$150.00°

BALANCE DUE: $60.00

National Indoor Football Leaque
C/O Carolyn Shriver

Case 2:02-cv-O0O54BEMENTRIn&HASCHARL Isl46/07 Page 84 of 85

1397 Eisenhower Boulevard
Richland Square I, Suite 202
Johnstown PA 15904
814-266-1799

600 Loire Avenue
Lafayette LA 70507

File No.

04/09/03
04/11/03
04/15/03
04/21/03

04/25/03
05/06/03

05/14/03
05/15/03

05/16/03
05/29/03

INVOICE

T 01-214

General

TCL
TCL
TCL
TCL

TCL
TCL

TCL
TCL

TCL
TCL

Phone conference with Carolyn Shiver Re: status of case

Phone conference with Dan Hartnett Re: the status of case
Letter to Attorney Caputo Re: contacting insurance adjuster
Phone conference with Teresa from Laramie Wyoming
Orthopedic Hospital Re: former NIFL player, Hatten Nkrumbah
Phone conference with Greg Albright Re: status of case
Correspondence with Federal Court Clerk Re: status of
Preliminary Objections and correspondence with Michael
Seymour, counsel for the insurance company representing
employer services

Phone conference with Coastal MRI Re: collection case
Review of Memorandum, Opinion and Order from the United
States District Court for Western Pa

Correspondence with Carolyn Shiver Re: Court Order and Answer
Phone conference with Judge McVerry's office Re: the trial
management conference

SUBTOTAL:

FOR PROFESSIONAL SERVICES RENDERED:

Interest on overdue balance

TOTAL AMOUNT OF THIS BILL:

June 13, 2003
Invoice #

20209

Hours

0.30
0.20
0.20
0.40

0.20
0.40

0,20
0.20

0.20
0.20

2.50

375.00]

2.50

$375.00

$1.75

$376.75
Case 2:02-cv-00548-TFM Document 148-1 Filed 09/18/07 Page 85 of 85

National Indoor Football Leaque Page
PREVIOUS BALANCE: $60.00
BALANCE DUE: $436.75

Current 30 Days 60 Days 90 Days 120 Days

376.75 60.00 0.00 0.00 0.00
